Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 1 of
                                      112




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 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 2 of
                                       112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Account ID                                                                     Guarantor Name & Address

Visit ID

Detailed Bill For

Patient Name :
Account Class:                                   Outpatient                                        Service Date From: 09/30/2013
Attending Physician :                                                                              Service Date To : 09/30/2013
Charges
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 Service           Cost                  Rev . Proc .                          Description                                              Qty . Amount
 Date              Ctr.                  Code Code
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Professional Charges
 09/30/13                                            99214                   OFFICE/OUTPT VISIT,EST/L                                               270.00
 09/30/13                                            Q2037                   Fluvirin vacc, 3 yrs & >                                                46.00
 09/30/13                                            G8553                   Rx certified EHR                                                         0.00
 09/30/13                                            G8420                   BMI<30 AND >=22 CALC & D                                                 0.00
 09/30/13                                            G8427                   PR LIST OF CURRENT MEDIC                                                 0.00
 09/30/13                                            3016F                   PATIENT SCREEN FOR UNHEA                                                 0.00
 09/30/13                                            1036F                   CURRENT TOBACCO NON-USER                                                 0.00
 09/30/13                                            G00O8                   ADMIN INFLUENZA VIRUS VA                                                25.00
       Total professional charges:                                                                                                                  341 .00


Pa     en ts
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 Post Date                                                 Recd . From                                                                              Amount
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Professional Pa                   ents
 10 18 13                                                  MEDICARE                                                                               -129 .98
 i1 04 13                                                  UN ITED H EALTHCA RE                                                                    -23 .17

       Total professional pa                          ents :                                                                                      -153.15




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Professional Adjustments
 10/18/13                                                   MEDICARE                                                                               -154.16
 10/18/13                                                   MEDICARE                                                                                 -1.85
 iO/18/l3                                                   MEDICARE                                                                                -31.04
 10/18/13                                                   MEDICARE                                                                                 -0.30
 10/18/13                                                   MEDICARE                                                                                 -0.50
       Total professional adjustments:                                                                                                             -187.85
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 3 of
                                      112




Total balance:                                                                  0 .00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 4 of
                                       112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :

Accoun: ID                                                              Guarantor Name & Address


Visit ID

Detailed Bill For
Patient Name ;
Account Class:                                Outpatient                                 service Date From: 09/30/2013
Attending Physician:                                                                     service Date To: 09/30/2013
Charges
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  Service           Cost               Rev. Proc.                       Description                                     Qty . Amount
  Date              Ctr .              Code Code
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Professional Charges
  09/30/13                                        99214               OFFICE/OUTPT VISIT,EST,L                            1        270.00
  09/30/13                                        Q2037               Fluvirin vacc, 3 yrs & >                            l         46.00
  09/30/13                                        G8553               Rx certified EHR                                    1          0.00
  09/30/13                                        G8420               BMI<30 AND >=22 CALC & D                            1          0.00
  09/30/13                                        G8427               PR LIST OF CURRENT MEDIC                            l          0.00
  09/30/13                                        3016F               PATIENT SCREEN FOR UNHEA                            1          0.00
  09/30/13                                        1036F               CURRENT TOBACCO NON-USER                            l          0.00
  09/30/13                                        G0008               ADMIN INFLUENZA VIRUS VA                            1         25.00
           Total professional charges:                                                                                             341 .00


Pa         en ts
  Post Date                                            Recd . From                                                                 Amount
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Professional Pa                  ents
  10 18 13                                             MEDICARE                                                                  -12 9 .98
  11 04 13                                             UN ITED HEA LTHCARE                                                        -23 .17

           Total professional pa                  ents:                                                                          -153 .15




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Professional Adjustments
 10/18/13                                              MEDICARE                                                                  -154.16
 10/18/13                                              MEDICARE                                                                    -1.85
 10/18/13                                              MEDICARE                                                                   -31.04
 10/18/13                                              MEDICARE                                                                    -0.30
 10/18/13                                              MEDICARE                                                                    -0.50
           Total professional adjustments:                                                                                        -187.85
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 5 of
                                      112




Total balance:                                                                      0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 6 of
                                       112



UH EALTH
University of Miami Hea1th Systems
P .O . Box 402005
Atlanta , GA 30384-2005
Ph :
Account ID                                                           Guarantor Name & Address


Visit ID

Detailed Bill For
Patient Name :
Account Class :                             Outpatient                                Admission Date :                 c9/13/2013
Attending Physician :                       DUBOVY , SANDER R .                       Discharge Date:                  09/13/2013
Char es
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Hospital Charges
  09/13/13 2075                     0920 470700185                  HCHG OCT; UNI/BILATERAL;                                    329.00
  09/13/13 1025                     0510 501700469                  HCHG CLINIC LEVEL 4 EST                                     175.00
      Total hosp ital charges :                                                                                                 504.00


Pa     ents
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Hospital Pa           ents
 10 08 13                                           M ED ICARE                                                                -114 .61
 10 10 13                                           UNITED HEALTHCARE                                                          -29.26

       Total hospital pa               ents'
                                           .                                                                                  -143 .87


Adjustments
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  Post     Date
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Hospital.
 10 08 13Adjustments                                MEDIC       E                                                             -357,79

       Total hospital adjustments'
                                 .                                                                                             -357.79


Total balance :                                                                                                                     2 .34
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 7 of
                                       112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Account ID                                                                      Guarantor Name & Addreas


Visit I

Detailed Bill For
Patient Name :
Account Class :                                   Outpatient                                         Service Date From : 09/13/2013
Attending Physician :                                                                                Service Date To: 09/13/2013
Charges
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 Service            Cost                 Rev . Proc.                            Description                                                ty . Amount
 Date               Ctr .                Code Code
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Professional Charges
  09/13/13                                            99213                   OFFICE/OUTPT VISIT,EST/L                                                180.00
  09/13/13                                            3016F                   PATIENT SCREEN FOR UNHEA                                                  0.00
  09/13/13                                            1036F                   CURRENT TOBACCO NON-USER                                                  0.00
  09/13/13                                            92134                   COMPUTERIZED OPHTHALMIC                                                 112.00
       Total professional charges:                                                                                                                    292.00


Pa      ents
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Professional Payments
 10 07 13                                                   MEDICARE                                                                                  -67.53
  10 22 13                                                  UN ITED HEALTHCARE                                                                        -17 .22

        Total professional pa                         ents :                                                                                          -84 .75




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Professional Adjustments
 10/07/13                                                    MEDICARE                                                                               -125.23
 10/07/13                                                    MEDICARE                                                                                 -0.88
 1Q/07/13                                                    MEDICARE                                                                                -80.64
 10/07/13                                                    MEDICARE                                                                                 -0.50
        Total professional adjustments:                                                                                                              -207.25


Total balance :
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 8 of
                                       112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Aècount ID                                                          Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class :                           Outpatient                                 Admission Date :                07/15/2013
Attending Physician :                     SUSSMKN, DANIEL A .                        Discharge Date :                07/15/2013
Charges
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 Service         Cost              Rev . Proc .                     Description                                    Qty . Amount
 Date           Ctr .              Code      Code
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Hospital Charges
 07/15/13         4030             0636       130700636           ONDANSETRON HCL 4 MG/ZML                                     36.00
 07/15/13         4030             0636       130700636           MIDAZOLAM 5 MG/SML SOLN                                      36.00
 07/15/13         4030             0250       130700250           PROPOFOL 10 MG/ML EMUL 2                                     53.00
 07/15/13         4030             0250       130700250           KETAMINE 10 MG/ML SOLN 2                                    130.00
 07/15/13         4030             0250       130700250           LIDOCAINE 2 * SOLN 5 ML                                      42.00
 07/15/13         4030             0636       130700636           LACTATED RINGERS SOLN 1,                                    173.00
 07/15/13         4010             0270       111700443           BITE BLOCK (GI)                                              28.00
 07/15/13         4010             0271       111706195           OXISENSOR                                                   310.00
 07/15/13         4010             0270       111708729           IV SET PRIMARY CONTINU F                                     35.00
 07/15/13         4010             0272       623726359           CANNULA CO2 WITH 02 DELI                                    180.00
 07/15/13         4010             0271       111704037           FORCEPS BTOPSY RJ4 LARGE                                    *79.00
 07/15/13         4010             0271       111704035           FORCEPS BIOPSY RJ4 JUMBO                                    225.00
 07/15/13         4010             0270       111709041           SNARE POLYPECTOMY MINT 6                                    681.00
 07/15/13         4010             0271       111700705           ERBE ELECTRODE GROUND PA                                     51.00
 07/15/13         4010             0270       111709119           TRAP SPECIMEN STERILE 40                                     35.00
 oJ/I5/13 4010                      0270 1*1704171                GOWN SURGICAL LARGE                                           40.00
 07/15/13         4010             0270       501702978           CLIP RESOLUTION M0052261                                1,000.00
 07/15/13         3035             0750       501705018           SIGMOID FLEX W BX                                       2,626.00
 07/15/13         3035             0750       501704612           COLONOSCOPY                                             3,062.00
 07/15/13         4010             0270       111702405           HCHG CATH IV 20G INTROCA                                   37.00
 07/15/13         4010             0270       111705067           HCHG KIT IV START                                          32.00
 07/15/13         4010             0270       111708775           HCHG SET SMALLBORE EXTEN                                   37.00
 07/15/13         3027             0710       501701677           HCHG RECOVERY STEP DOWN                                   282.00
 07/15/13         3027             0710       501701679           HCHG RECOVERY STEP DOWN                                   211.00
 07/15/13         3010             0370       380700009           HCHG ANES MAC lST HOUR                                  1,122.00
 07/15/13         4035             027:       111705521           HCHG NASAL CANNULA (AKA                                    18.00
 07/15/13         4035             0271       111700007           HCHG 02/HOUR (AKA 371002                                   14.00
 07/15/13         2065             0/12       107701517           STAIN GROUP 1, MICRO-ORG                                  227.00
 07/15/13         2065             0312       107702697           GROSS MICRO IV                                            303.00
 07/15/13         2065             0312       107702697           GROSS MICRO IV                                            303.00
 07/15/13         2065             0312       107702697           GROSS MICRO IV                                            303.00
 07/15/13         2065             0312       107701701           IMMUNOHISTOCHEMISTRY                                      481.00
      Total hospital charges )                                                                                           12,292 .00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 9 of
                                          112




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Hospital Pa             ents
 08 09 13                                            MEDICARE                                                                 -862 .42
 08 12 13                                            UNITED HEALTHCARE                                                        -305 .70

         Total hospital pa               ents:                                                                             -1,168.12


Adjustments
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Hospital Adjustments                                        '
    08 09 13                                         MEDICA RE                                                               -17 .61
    08 09 13                                         MEDICARE                                                            -11,106 .27

         Total hospital adjustments'
                                   .                                                                                     -11,123.88

Total balance :                                                                                                                     0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 10 of
                                      112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :




Detailed Bill For
Patient Name :
Account Class:                                     Outpatient                                         Service Date From: 07/15/2013
Attending Physician :                                                                                 Service Dabe To: 07/15/2013
Charges
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    Service           Cost                 Rev . Proc.                            Description                                             Qty . Amount
    Date             Ctr.                   Code        Code
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Professional Charges
    07/15/13                                            45331                   SIGMOIDOSCOPY,BIOPSY                                        l         370.00
    07/15/13                                            43239                   UPPER GI ENDOSCOPY,BIOPS                                    1         655.00
         Total professional charges :                                                                                                             1,025 .00


Pa       en ts
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Professional Pa                     ents
    08 01 13                                                  MED ICARE                                                                              -195 .41
    08 16 13                                                  UN ITED HEALTHCARE                                                                      -4 9 .85

         Total professional pa                          ents:                                                                                        -245 .26


Adj   ustments
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Professional Adjustments
 08/01/13                                                     MEDICARE                                                                               -451.15
 08/01/13                                                     MEDICARE                                                                                 -3.26
 08/01/13                                                     MEDICARE                                                                               -279.21
 08/01/13                                                     MEDICARE                                                                                 -0.73
 08/01/13                                                     MEDICARE                                                                                -45.39
         Total professional adjustments;                                                                                                             -779.74 l)
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To tal balance:                                                                                                                                            o.oo I
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Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 11 of
                                      112



UHEALTH
University of Miami Hea1th Systems
P.O . Box 402005
Atlanta, GA 30384-2005
Ph :

Account ID                                                          Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                            Outèatient                                 service Date From : 07/15/2013
Attending Physician :                                                                service Date To: 07/15/2013
Charges
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 Service         Cost              Rev . Proc .                     Description                                     Qty . Amount
 Date            Ctr .             Code       Code
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Professional Charges
 07/15/13                                     00810               ANESTH,INTESTINEZSCOPE,L                       11.3 1,186.50
 07/15/13                                     4256F               DURATION GENERAL/NEURAXI                          l     0.D0
 07/15/13                                     4047F               DOC ORDER ANTIBIO GIVEN                           l     0.00
 07/15/13                                     99100               SPECIAL ANESTHESIA SERVI                          l     0.00
      Total professional charges:                                                                                          1,186.50


Pa    en ts
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Professional Pa              ents
 08 06 13                                          M EDICARE                                                                 -206 .08
 08 22 13                                          UN ITED HEALTHCARE                                                         -52 .57
      Total professional pa                   ents:                                                                          -258.65


Adjustments
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  Post Date                                        Adj. For                                                                    Amount
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Professlona
       '   l Adë'u'stments
 08 06 13                                          MEDICARE                                                                  -923 .64
 08 06 13                                          MEDICARE                                                                    -4 .21

      Total professional adjustments:                                                                                        -927.85


Total balance :                                                                                                                    0.00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 12 of
                                          112



    UHEA LTH
    University of Miami Health Systems
    P .O . Box 402005
    Atlanta, GA 30384-2005
    Ph :
    Account ID                                                                      Guarantor Name & Address




    Detailed Bill For
    Patient Name :
    Account Class :                                   outpatient                                        service Date From : 07/15/2013
    Attending Physician :                                                                               service Date To: 07/15/2013
    Charges
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      Service           Cost                  Rev . Proc.                           Description                                             Qty . Amount
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    Professional Charges
      07/15/13                                            88305                   SURG PATH#LEVEL IV                                                    390.00
      07/15/13                                            88342                   IMMUNOCYTOCHEMISTRY                                                   162.00
      07/15/13                                            88312                   SPECIAL STAIN GROUP 1 MI                                               94.00
            Total professional charges :                                                                                                                636.00

    Payments
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    Professional Payments
      08 28 13                                                  M EDICARE                                                                             -145 .92
      09 06 13                                                  UNITED HEALTHCARE                                                                      -37 .23

            Total professional payments :                                                                                                             -183.15


Adjust   ments
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Professional Adjustments
 08/28/13                                                       MEDICARE
 08/28/13                                                       MEDICARE
     08/28/13                                                   MEDICARE
.
     08/28/13                                                   MEDICARE
     08/28/13                                                   MEDIUARE
     08/28/13                                                   MEDICARE
           Total professional adjustments:                                                                                                             -452.85

Total balance :                                                                                                                                              0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 13 of
                                       112



UHEALTH
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P .O . Box 4 02005
Atlanta, GA 30384-2005
Ph :

Account ID                                                            Guarantor Name & Address




Detailed Bill For
Patient Name :
Account-class :                            Outpatient                                  Service Date From: 05/24/2013
Attending Physician :                                                                  Service Date To: 05/24/2013
Charges
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  Service        Cost               Rëv . Proc .                     Description                                      Qty . Amount
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Professional Charges
  05/24/13                                     99213                OFFICE/OUTPT VISIT,EST,L                            1        180.00
  05/24/13                                     G8420                BMI<30 AND >=22 CALC & D                            l          0.00
  05/24/13                                     G8428                MEDS DOCUMENT W/O VERIFI                            1          0.00
  05/24/13                                     3016F                PATIENT SCREEN FOR UNHEA                            1          0.00
  05/24/13                                     1036F                CURRENT TOBACCO NON-USER                            1          0.00
  05/24/13                                     11100                BIOPSY OF SKIN LESION                               1        170.00
  05/24/13                                     11300                SHAV SKIN LES <5MM TRUNK                            1        135.00
       Total professional charges:                                                                                               485.00


Payments
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Professional Payments
  06/18/13                                          MEDICARE                                                                    -62.05
  06/19/13                                          MEDICARE                                                                   -134.90
  07/05/13                                          UNITED HEALTHCARE                                                           -34.42
  07/17/13                                          UNITED HEALTHCARE                                                           -15.83
       Total professional payments :                                                                                           -247.20


Adjustments
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Professional Adjustments
 06/18/13                                           MEDICARE                                                                   -100.85
 06/18/13                                           MEDICARE                                                                     -1.27
 06/19/13                                           MEDICARE                                                                    -52.66
 06/19/13                                           MEDICARE                                                                     -1.88
 06/19/13                                           MEDICARE                                                                    -25.52
 06/19/13                                           MEDICARE                                                                     -0.88
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 14 of
                                      112



 06/19/13                       MEDICARE                                          -
                                                                                      54 .74

    Total professional adjustments:                                           -
                                                                                  237 .80



Total balance :                                                                        0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 15 of
                                      112



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University of Miami Health Systems
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Atlanta , GA 30384-2005 .
Ph :
Accoun t ID                                                                      Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class:                                     Outpatient                                        service Date From: 05/23/2013
Attending Physician :                                                                                Service Date To: 05/23/2013
Charges
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    service           Cost                 Rev . Proc .                          Description                                             Qty . Amount
    Date              Ctr.                 Code         Code
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Professional Charges
    05/23/13                                           99215                   OFFICE/OUTPT VISITZESTAL                                    l         360.00
    05/23/13                                           G8553                   Rx certified EHR                                            l           0.00
    05/23/13                                           G8420                   BMI<30 AND >=22 CALC & D                                    l           0.00
    05/23/13                                           G8428                   MEDS DOCUMENT W/O VERIFI                                    l           0.00
    05/23/13                                           3016F                   PATIENT SCREEN FOR UNHEA                                    1           0.00
    05/23/13                                           *036F                   CURRENT TOBACCO NON-USER                                    1           0.00
          Total professional charges:                                                                                                                360.00

Pa        ents
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Professional Pa                    ents
    06 18 13                                                  MEDICARE                                                                               -92 .66
    07 09 13                                                  UNITED HEALTHCARE                                                                      -23.64

          Total professional pa                        ents;                                                                                       -116.30


Adjustments
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Professional Adjusbments
    06 18 13                                                 MEDICARE                                                                              -241 .81
    06 18 13                                                 MEDICARE '                                                                              -1 .89

         Total professional adjustments'
                                       .                                                                                                           -243.70

Total balance :                                                                                                                                          0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 16 of
                                      112



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Ph :
A ccount ID                                                           Guarantor Name & Address




Detailed Bill For
Patient Name :                               KATSAVAKIS ,AN THIPE T
Account Class:                               Outpatient                                Service Date From: 05/23/2013
Attending Physician :                                                                  Service Date To: 05/23/2013
Charges
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    Service        Cost               Rev . Proc.                     Desc'ription                                    Qty . Amount
    Date           Ctr.               Code      Code
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Professional Charges
 05 23 13                                       88305               SURG PATH,LEVEL IV                                          190.00
        Total professional charges.
                                  .                                                                                             190.00




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Professional Pa                ents
 06 28 13                                            MEDICARE                                                                      0 .00

        Total professional pa                   ents:                                                                              0.00




Total balance :                                                                                                                 190.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 17 of
                                      112



UHEA LTH
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P .O . Box 402005
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Ph :
Accoùnt ID                                                                      Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class :                                  Outpatient                                         Service Date From : 05/23/2013
Attending Physician:                                                                                Service Date To: 05/23/2013
Charges
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 Service           Cost                  Rev . Prot .                          Description                                             Qty . Amount
 Date              Ctr.                  Code Code
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Professional Charges
  05 23 13                                            88305                   SURG PATH,LEVEL IV                                          1         190.00

        Total professional charges'
                                  .                                                                                                                 190 .00

Pa      en ts
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 Post Date                                                 Recd . From                                                                             Amount

Professional Pa                  ents
 06 12 13                                                  M EDIC        E                                                                              0 .00

       Total professional pa                         ents '
                                                          .                                                                                             0 .00




Total balance:                                                                                                                                      190 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 18 of
                                      112



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A ccoun t ID'                                                        Guarantor Namè & Address




Detailed Bill For
Patient Name:
Account Cla ss :                           Outpatient                                 Admission Date :                 04/26/2013
Attending Physician :                      MOFFAT , FREDER ICK L .                    Discharge Date :                 04/26/2013
Charges
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 service         Cost               Rev .     Proc .                 Description                                    Qty . Amount
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Hospital Charges
  04/26/13 2045                     0401 501700649                 DIGITAL DIAGNOSTIC MAMMO                                    821.00
  04/26/13 2045                     0401 501700489                 DIGITIZATION OF FILM .                                       81.00
  04/26/13 1089                     0510 501700461                 HCHG CLINIC LEVEL 2 EST                                     132.00
      Total hospital charges:                                                                                               1,034 .00

Payments
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Hospital Payments
 05 21 13                                          M ED ICARE                                                                -168 .96
 05 31 13                                          UN ITED HEALTHCARE                                                         -43 .11
 06 10 13                                          UN ITED HEALTHCARE                                                           0 .00

      Total hospital payments :                                                                                              -212 .07

Adjustments
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Hospital Adjustments
 05 21 13                                          MEDICARE                                                                    -3 .45
 05 21 13                                          MEDICARE                                                                  -818 .48

      Total hospital adjustments'
                                .                                                                                            -821.93


Total balance :                                                                                                                   0 .00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 19 of
                                        112



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  Ph :

  Account ID                                                                  Guarantor Name & Address




 Detailed Bill For
 Patient Name:
 Account Class :                                 Outpatient                                      Service Date From: 04/26/2013
 Attending Physician :
                                                                                                 Service Date To: 04/26/2013
 Charges
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 Professional Charges                                                                                                 ===================
   04/26/13                                         99213                  OFFICE/OUTPT VISIT
   04/26/13                                         G8419                  BMI>=30OR <22 CAL N O, EST ,L
                                                                                                   FOLL
                                                                                                                                     1
                                                                                                                                     1
                                                                                                                                                180 . 00
                                                                                                                                                  0.
   04/26/13                                         G8428                  MEDS DOCUMENT W/O VERI                                                      00
   04/26/13                                         3016F                  PATIENT SCREEN FOR UNHEA   FI                            1
                                                                                                                                    1
                                                                                                                                                    0.
                                                                                                                                                    0.
                                                                                                                                                       00
   04/26/13                                         1036F                  CURRENT TOBACCO NON USER             -
                                                                                                                                    1               0
                                                                                                                                                       00
                                                                                                                                                            .   00
          Total professional charges:                                                                                                           180
                                                                                                                                                            .   00

Pa        ents
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Professional Pa                  ents                                                                                         =====-========
 05 20 13                                                MEDICARE
 06 05 13                                                UNIT                                                                                   -
                                                                                                                                                  42 .94
                                                              ED H EALTHCARE                                                                    -
                                                                                                                                                  10 .95
          Total professional payments:                                                                                                          -
                                                                                                                                                  53.89

Adjustments
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Professional Adjustments                                                                                                                 =======-
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 05 20 13                                               MEDICARE
 05 20 13                                               MED                                                                                 -
                                                                                                                                                125 .23
                                                            ICARE                                                                                -
                                                                                                                                                   0 .88
      .
          Total professional adjustments:                                                                                                   -
                                                                                                                                                126 .11


Total balance :                                                                                                                                     0
                                                                                                                                                        .   00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 20 of
                                      112



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Ph :
Accoun t ID                                                         Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class:                            Outpatient                                 service Date From: 04/26/2013
Attending Physician :                                                                service Date To: 04/26/2013
Charges
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 Date    Ctr .                      Code Code
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Professional Charges
 04/26/13                                     G0204                DIAGNOSTIC MOGRAPHYDIG                                      210.00
 04/26/13                                     77051                COMPUTER AIDED   OGRAP                                       20.00
      Total professional charges :                                                                                             230 .00


Pa    ents
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Professional Pa              ents
 0 5 16 13                                         MEDICARE                                                                    -39 .72
 05 29 13                                          UN ITED HEALTHCARE                                                          -10 .13

      Total professional pa                   ents:                                                                            -49 .85


Adjustments
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Professional Adjustments
 05/16/13                                          MEDICARE                                                                   -16.28
 05/16/13                                          MEDICARE                                                                    -0.06
 05/16/13                                          MEDICARE                                                                  -163.06
 05/16/13                                          MEDICARE                                                                      -0.75
      Total professional adjustments:                                                                                        -180.15


Total balance :                                                                                                                    0.00
     Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 21 of
                                           112



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     P.O . Box 402005
     A tlanta , GA 30384 -2005
     Ph :               .



     Account ID                                                                    Guarantor Name & Address




     Detailed Bill For
 Patient Name :
 Account Class:                                     Outpatient                                         Admission Date:
 Attending Physician :                              KOCH, YVONNE K .                                   Discharge Date:
                                                                                                                                              03/19/2013
                                                                                                                                              03/19/2013
 charges
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 Hospital Charges
     03/19/13          1095                0361        360700487                HCHG CYSTOURETHROSCOPY                                              1,
     03/19/13          1090                0270        111704083                SPONGE GAUZE STERILE                                                     611.00
     03/19/13          1090                0270        111711123                TUBING CONT INUOUS OVERHE
                                                                                                      4X4                                                 26.00
                                                                                                                                                         139 .
     03/19/13          1090                0271        111703292                TOWEL OR STERILE 18X261N                                                       00
                                                                                                                                                          25 .00
          Total hospital charges :                                                                                                                  1 801 .00
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 Pa      ents
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Hospital Pa                ents
 04 11 13                                                    MEDICARE
 04 12 13                                                                                                                                            -
                                                                                                                                                      410.18
                                                             UNITED HEALTHCARE                                                                       -102 . 55
         Total hospital pa                    ents:                                                                                                  -
                                                                                                                                                         512 .73

Adjustments
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Hos ital Adjustments                                                                                                                ==-
                                                                                                                                      -=======-
                                                                                                                                              -===M==
     04 11 13                                               MEDIC          E                                                                    -
                                                                                                                                                    1 ,288 .27
        Tota hospital adjustments:                                                                                                              -1, 288 .27


Total balance :                                                                                                                                            0
                                                                                                                                                               .   00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 22 of
                                      112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Account ID                                                                             Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                                          Outpatient                                     Service Date From: 03/19/2013
Attending Physician :                                                                                  Service Date To: 03/19/2013
Charges
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    Service               Cost                   Rev . Proc .                         Description                             Qty . Amount
    Date                  Ctr .                  Code       Code
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Professional Charges
    03/19/13                                                52000                    CYSTOURETHROSCOPY                          l        475.00
    03/19/13                                                51700                    IRRIGATION OF BLADDER                      1        190.00
           Total professional charges:                                                                                                   665 .00

Payments
    - -                        - - - - - - - -          -   - - - - - - - - -   = = = == == - - -- -= - - -- -                      -- - == = = --
    Post Date                                                    Recd . From                                                            Amount
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Professional Pa                       ents
    04 12 13                                                     MED ICARE                                                              -132 .37
    04 22 13                                                     UN ITED HEALTHCARE                                                      -33 .10
           Total professional pa                            ents:                                                                       -165.47


Adjustments
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Professional Adjustments
 04/12/13                                                        MEDICARE                                                               -334.07
 04/12/13                                                        MEDICARE                                                               -140.92
 04/12/13                                                        MEDICARE                                                                -24.54
           Total professional adjustments:                                                                                              -499.53


Total balance :                                                                                                                             0 .D0
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 23 of
                                        112



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 P .O . Box 402005
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 Ph :
 Ac coun t ID                                                            Guarantor Name & Address




 Detailed Bill For
 Patient Name:
 Account Class :                               Outpatient                                 Admission Date :                 02/19/2013
 Attending Physician :                         KOCH, YVONNE K .                           Discharge Date :                 02/19/2013
 Charges
 == == = == = == = = == = = === = = = == = = == = = == = == = == = = == = = == M == = == = = == = = == == = = == == = = == = == == = ==
      Service       Cost               Rev .      Proc .                Description                                      Qty . Amount
      Date          Ctr .              Code       Code
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 Hosp ital Charges
  02 19 13 1095                        0510       501700463            HCHG CLINIC LEVEL 2 NEW                                     129 . 00
          Total hospital charges:                                                                                                  129 . 00

Pa        ents

  Post Date                                            Recd . From                                                                 Amount
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Hospital Pa              ents
  03 14 13                                            M ED ICARE                                                                   -
                                                                                                                                       59 .29
  03 18 13                                            UN ITED HEALTH              E                                                -   14 .82
         Total hospital pa ents:                                                                                                   -74 . 11

Adjustments
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Hospital Adjustments
  03 14 13                                            MEDI        E                                                                -
                                                                                                                                       54 .89
         Total hospital adjustments'
                                   .                                                                                              -54 . 89


Tota'ï balance:                                                                                                                         0. 00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 24 of
                                      112



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Account ID                                                                      Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class :                                   Outpatient                                        Service Date From: 02/19/2013
Attending Physician :                                                                               Service Date To: 02/19/2013
Charges
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  Service           Cost                  Rev . Proc .                          Description                                             Qty . Amount
  Date              Ctr .                 Code        Code
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Professional Charges
  02/19/13                                            99204                   OFFICE/OUTPT VISIT,NEW,L                                    1         420.00
  02/19/13                                            G8419                   BMI>=30OR<22 CAL NO FOLL                                    l           0.00
  02/19/13                                            G8428                   MEDS DOCUMENT W/O VERIFI                                    1           0.00
  02
   ./19/13                                            3016F                   PATIENT SCREEN FOR UNHEA                                    1           0.00
  02/19/13                                            1036F                   CURRENT TOBACCO NON-USER                                    1           0.00
        Total professional charges :                                                                                                                420.00

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Professional Pa                   ents
  03 19 13                                                  MED ICARE                                                                              -115 .61
  03 27 13                                                  UNITED HEALTHCARE                                                                       -28 .90

       Total professional pa                          ents:                                                                                        -144 .51

Adjust     ments
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Professiona Adjustments
  03 19 13                                                  MEDIC         E                                                                        -275 .49
       Total         ro essmonal adaustments :                                                                                                     -275 .49



Total balance :                                                                                                                                         0 .00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 25 of
                                          112



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     Atlanta, GA 30384-2005
     Ph ;

    A ccoun t ID                                                             Guarantor Name & Address




    Detailed Bill For
    Patient Name :
    Account Class:                                 Outpatient                                Admission Date :
    Attending Physician :                          BROWN, MARK D .
                                                                                                                              01/30/2013
                                                                                             Discharge Date :                 01/30/2013
    Char es
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     service         Cost                   Rev .     Proc .                Description
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     Date            Ctr .                                                                                                         .        Amount
                                            Code      Code
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    Hospital Charges                                                                                                                    =======
     01/30/13 2080                          0320 501701127                SPINE LUMBAR WITH BENDIN                                     1,
     01/30/13 1025                          0510 501700461                HCHG CLINIC LEVEL 2 EST                                           064. 00
                                                                                                                                            123 .00
          Total hospital charges :                                                                                                     1 187 .00
                                                                                                                                        ,


Pa        en ts
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Hospital Pa               ents                                                                                          -==============-
                                                                                                                                       -
     02 22 13                                             M ED ICARE
     03 0B 13                                                                                                                           -
                                                                                                                                            116 .29
                                                          UN ITED HEALTH              E                                                     -29 . 07
          Total hospital pa                   ents:                                                                                    -
                                                                                                                                            145.36

Adjustments
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Hospital Adjustments                                                                                                            =-=M==
    02 22 13                                              MED IC      E                                                        -
                                                                                                                                   1 ,041 .64
         Total os ital adjustments:                                                                                            -1, 041 .64


Total balance :                                                                                                                               0
                                                                                                                                                  .   00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 26 of
                                      112



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Account ID                                                                     Guarantor Name & Address




Detailed Bi11.For
Patient Name :
A ccoun t Class :                                Outpatient                                         Service Date From: 01/30/2013
Attending Physician :                                                                               Service Date To: 01/30/2013
Charges
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  Service          Cost                  Rev. Proc .                            Description                                             Qty . Amount
 Date              Ctr.                  Code        Code
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Professional Charges
  01 30 13                                            99202                   OFFICE OUTPT VISIT,NEW,L                                    l         190.00

       Total professional charges:                                                                                                                  190 .00


Pa     ents
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  Post Date                                                 Recd . From                                                                             Amount
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Professional Pa ents
  02 21 13                                                  MEDI   E                                                                                 -43 .30
  03 11 13                                                  UNITED HEALTHCARE                                                                        -10.82

        Total professional pa                         ents:                                                                                          -54 .12


Adjustments
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  Post      Date                                             Adj. For
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                                                                                                                                                    Amount
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Pro
 02 essional
    21 13    Adjustments                                    M EDIC        E                                                                        -135 .88

        Total professional adjustments:                                                                                                            -135.88


Total balance )                                                                                                                                          0 ,00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 27 of
                                      112



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Atlanta , GA 30384-2005
Ph :
Ac coun t ID                                                                   Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class :                                   Outpatient                                       Service Date From : 01/30/2013
Attending Physician :                                                                              Service Date To: 01/30/2013
Charges
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  Service           Cost                  Rev . Proc .                         Description                                             Qty . Amount
  Date              Ctr.                  Code Code
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Professional Charges
  01 30 13                                            72110                   X-RAY LUMBAR SPINE 4 VW                                    l           90 .00

       Total professional charges :                                                                                                                  90.00


Pa      ents
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  Post Date                                                Recd . From                                                                             Amount
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Professional Pa                   ents
  02 22 13                                                 MEDI   E                                                                                -14 .18
  03 95 13                                                 UNITED HEALTHCARE                                                                        -3.54

       Total professional pa                          ents :                                                                                       -17 .72


Adjustments
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  Post Date                                                  Adj. For                                                                                Amount
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Professional
 02 22 13
             Adjustments                                   MEDIC          E                                                                        -72 .28

       Total professional adjustments'
                                     .                                                                                                             -72.28


Total balance:                                                                                                                                         0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 28 of
                                       112



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  Ph :




 Detailed Bill For
 Patient Name :
 Account Class:    .                            Outpatient                                     service Date From: 01/17/2013
 Attending Physician :                                                                         service bate To: 01/17/2013
 Charges
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                                                                  = = == = == = == = = == == = = = == = == == = = == = = == = =
   Service         Cost                 Rev .      Proc .                   Description                                            ==========
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   Da te           Ctr .                                                                                                             . Am ount
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 Professional Charges                                                                                                      =M=============
  01 17 13                                         99213                  OFFICE OUTPT VISIT
                                                                                                            , EST ,L                 l       180 . 00
        Total professional charges :                                                                                                         180
                                                                                                                                                         .   00

Pa      ents
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  Post Date                                             Recd . From                                                                               -
                                                                                                                                             Amount
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Professional Pa                 ents
  02 13 13                                              MED I  E
  02 28 13                                                                                                                                   -
                                                                                                                                                 63 .32
                                                        UNITED HEALTHCARE                                                                    -
                                                                                                                                                 15.83
       Total professional pa                      enbs'
                                                      .                                                                                      -
                                                                                                                                                 79 .15

A justments
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 Post Date                                        Adj For     .                                          -==œ======-
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Professional Adjustments                    .                                                                                    -===========
 02 13 13                                              MEDICARE                                                                          -
                                                                                                                                             100 .85
       Total professiona adjustments:                                                                                                    -100        .   85


Total balance:                                                                                                                                   0
                                                                                                                                                     .   00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 29 of
                                          112



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    Ph :
    A ccount ID                                                            Guarantor Name & Address




    Detailed Bill For
    Patient Name :
    Account Class:                               Outpatient                                 Service Date From) 01/17/2013
    Attending Physician :                                                                   Service Date To: 01/17/2013
    Charges
    = = = == == = = == = == = = == = = == = == == = == == = = == = = == == == = == = == = == = == = = == = = == = == == = = == = = == = ==
     Service         Cost                 Rev .      Proc.                 Description                                     Qty . Amount
     Date            Ctr.                 Code       Code
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    Professional Charges
'
      01/17/13                                      Q2037                 Fluvirin vacc, 3 yrs & >                           l         46.00
      01/17/13                                      G0008                 ADMIN INFLUENZA VIRUS VA                           l         25.00
          Total professional charges :                                                                                                 71.00

    Pa    ents
                 - - - - -   = c == = = = -- - -- - - - -- -= - - -= = = == = = =- - -- -- - - -- - - -- - - - -- -- - - -- -- - - -= -- - = =-
      Post Date                                           Recd . From                                                                Amount

    Professional Pa                ents
      02 13 13                                            MEDIC       E                                                              -39 .05

          Total professional pa                      ents :                                                                          -39.05


    Adjustments
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      Post Date                                         Adj. For                                                                   Amount
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    Professional Adjustments
      02 13 13                                            MEDIC       E                                                              -31 .95

          Total professional adjustments'
                                        .                                                                                            -31.95


    Total balance :                                                                                                                      0.0û
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 30 of
                                       112



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 Ph :
A ccount ID                                                          Guarantor Name & Address




Detailed Bill For
Patient Name :
A ccount Class :                           Outpatient                                 service Date From: 01/09/2013
Attending Physician:                                                                  Service Date To: 01/09/2013
Charges
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  Service        Cost               Rev . Proc .                     Description                                     Qty .     Am ount
  Date           Ctr .              Code Code
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Professional Charges
  01/09/13                                     99203               OFFICE/OUTPT VISITZNEW,L                                    280.00
  01/09/13                                     36415               COLLECTION VENOUS BLOOD,                                     20.00
       Total professional charges:                                                                                             300 . 00

Payments
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Professional Payments
  02 05 13                                         MED ICARE                                                                   -95 . 85
  02 06/13                                         MEDICARE                                                                      -3.00
  02 20 13                                         UNITED H EA LTHCARE                                                         -23 . 96

       Total professional payments:                                                                                          -222 . 81


Adjustments
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Professional Adjustments
 02/05 13                                          MEDICARE                                                                  - 160.19
 02 06 13                                          M EDICARE                                                                   -17 . 00

      Total professional adjustments:                                                                                        -177.19

Total balance :                                                                                                                   0 . 00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 31 of
                                      112



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Ph :
A ccoun t ID                                                                Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                                 Outpatient                                      Service Date From: 12/27/2012
Attending Physician :                                                                          Service Date To: 12/27/2012
Charges
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 Service           Cost                 Rev . Proc .                        Description                                           Qty . Amount
 Date              Ctr.                 Code       Code
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Professional Charges
 12 27 12                                          99214                  OFFICE OUTPT VISIT ,ESTZL                                           270.00

       Total professional charges:                                                                                                            270.00


Pa     ents
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 Post Date                                               Recd . From                                                                         Amount
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Professional Pa                 ents
  01 25 13                                               MED ICARE                                                                            -66 .88
  02 06 13                                               UN ITED HEALTHCARE                                                                   -16 .72

       Total professional pa                       ents:                                                                                      -83.60


Adjustments
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  Post Date                                        Adj. For                                                                    Amount
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Professional
 01 25 13
             Adjustments                                 MEDICARE                                                                           -186.4û

       Total professional adjustments:                                                                                                      -186.40


Total balance :                                                                                                                                   0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 32 of
                                      112



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Ph )         .
A ccoun t ID                                                         Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class:                             Outpatient                                 Admission Date :                 12/24/2012
Attending Physician:                       HSU , CINDY                                Discharge Date :                 12/24/2012
Charges
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  Service        Cost               Rev . Proc .                     Description                                    Qty . Amount
  Date           Ctr.               Code      Code
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Hospital Charges
  12 24 12         1094             0324      501700423            CHE ST 2 V IEWS                                             4 95 .00

       Total hospital charges'
                             .                                                                                                 495 .00




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Hospital Pa           ents
 01 16 13                                          MEDICAR E                                                                   -36 .06

       Total hospital payments:                                                                                                -36.06

Adjustments
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 Post Date                                         Adj. For                                                                   Amount
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Hospital Adjustments
 01 16 13                                          M ED ICARE                                                                -449 .93

      Total hospital adjustments'
                                .                                                                                            -449.93


Total balance:                                                                                                                    9.01
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 33 of
                                      112



UH EALTH
University of Miami Health Systems
P .O . Box 4 02005
Atlanta , GA 30384-2005
Ph :
Account ID                                                                      cuarantor Name & Aédress



Detailed Bill For
Patient Name :
Account Class:                                    Outpatient                                        Service Date Froml 12/24/2012
Attending Physician :                                                                               Service Date To: 12/24/2012
Charges
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  Service           Cost                  Rev . Proc.                           Description                                             Qty . Amount
  Date              Ctr.                  Code Code
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Professional Charges
  12/24/12                                            99214                   OFFICE/OUTPT VISIT,EST,L                                     l         270.00
  12/24/12                                            G8553                   Rx certified EHR                                             l           0.00
  12/24/12                                            G0403                   PR ELECTROCARDIOGRAM,ROU                                     1          77.00
        Total professional charges :                                                                                                                 347.00




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Professional Payments
  01/23/13                                                  MEDICARE                                                                                 -90.42
  02/04/13                                                  MEDICARE                                                                                 -16.78
  02/04/13                                                  MEDICARE                                                                                 -45.20
  o2/i9/1a                                                  UNITED HEALTHCARE                                                                         -4.20
        Total professional payments:                                                                                                               -156.60


Adjustments
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Professional
 01 23 13
             Adjustments                                    MEDICARE                                                                               -156 .98
  02 04 *13                                                 MEDICARE                                                                                -56.02

        Total professional adjustments:                                                                                                             -213.00


Total balance:                                                                                                                                        -   22 .60
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 34 of
                                      112



UH EALTH
University of Miami Hea1th Sysbems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :          '

Account ID                                                          Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class:                            Outpatient                                 Service Date From: 12/24/2012
Attending Physician:                                                                 Service Date To: 12/24/2012
Charges
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Professional Charges
  12 24 12                                    83036               GLY CATED HEMOGLOB IN TEST                                   55 .00

      Total professional charges :                                                                                             55.00



 Post Date                                        Recd . From                                                                 Amount
Professional Pa             ents
 06 04 13                                         MEDIC       E                                                               -13 .75

      Total professional pa                  ents :                                                                           -13.75

Adjustments
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 Post Date                                        Adj. For                                                                    Amount
Professional Adjustments
 06 04 13                                         MEDICARE                                                                    -41 .25

      Total professional adjustments'
                                    .                                                                                         -41.25


Total balance :                                                                                                                  0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 35 of
                                      112



 UHEALTH
 University of Miami Health Systems
 P .O . Box 402 005
 Atlanta, GA 30384-2005
 Ph :




 Detailed Bill For
 Patient Name :
 Account Class :                               Outpatient                                  Service Date From: 12/24/2012
 Attending Physician :                                                                     Service Date To: 12/24/2012
 Charges
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  Service           Cost                Rev . Proc .                     Description                                       Qty .      Amoun t
  Date              Ctr .               Code Code
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 Professional Charges
  12/24/12                                        81001                 URINALYSIS, AUTO, W/SCOP                             l         30.00
  12/24/12                                        81003                 URINALYSIS, AUTO, W/O SC                             1         25.00
  12/24/12                                        80061                 LIPID PANEL                                          l         80.00
  12/24/12                                        80076                 HEPATIC FUNCTION PANEL                               1         45.00
  12/24/12                                        85610                 PROTHROMBIN TIME                                     1         30.00
  12/24/12                                        80048                 BASIC METABOLIC PANEL CA                             l         60.00
  12/24/12                                        85025                 COMPLETE CBC & AUTO DIFF                             l         45.00
  12/24/12                                        84443                 ASSAY THYROID STIM HORMO                             1        100.00
  12/24/12                                        85730                 THROMBOPLAS TIME PARTIAL                             1         40.00
  12/24/12                                        82306                 ASSAY OF VIT D,CALCIFEDI                             l        170.00
         Total professional charges:                                                                                                  625 . 00

Pa       ents
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Professional Pa                 ents
  03 01 13                                             MEDIC        E                                                                 -63 . 20

         Total professional pa                    ents:                                                                               -63 . 20


Adjustments
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Professional Adjustments
 03 01 13                                              MEDICARE                                                                      -49 . 76
 03 01 13                                              MEDI   E                                                                      -66 . 34
 03 01 13                                              MEDI   E                                                                      -76 . 20
 03 01/13                                              MEDI        E                                                                 -25.52
 03 01 13                                              MEDICARE                                                                      -33 . 98
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 36 of
                                      112



    Total professional adjustments:                                           -251.80


Total balance :                                                                310.00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 37 of
                                          112



     UHEALTH
     University of Miami Health Systems
     P .O . Box 402005
     Atlanta, GA 30384-2005
     Ph :'
     Account ID                                                                 Guarantor Name & Address




    Detailed Bill For
    Patient Name :
    Account Class:                                 outpatient                                      Service Date From : 12/24/2012
    Attending Physician:
                                                                                                   Service Date To: 12/24/2012
    Charges
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      Service          Cost                Rev .       Proc .                  Description                                            Qty .                =-
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     Date              Ctr .                                                                                                                         Am ount
                                           Code        Code
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    Professional Charges                                                                                                ============-=-=-=-=
     12 24 12                                          71020                 CHEST X - RAY 2 V W                                                      55 . 00
           Total professional charges '
                                                             .                                                                                        55 .00

Pa         ents
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Professional Payments                                                                                      ========c================
     01 23 13                                              MEDI     E
     02 04 13                                              UN IT                                                                                     -
                                                                                                                                                      9 .06
                                                                 ED HEALTHCARE                                                                       -2 . 26
          Total professional pa                       ents :                                                                                     -
                                                                                                                                                     11 .32

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Professional Adjustments                                                                                                                  =========
    0 1 23 13                                              MED ICARE                                                                             -   43 .68
         Total professional adjustments:                                                                                                        -
                                                                                                                                                     43 .68


Total balance:
                                                                                                                                                      0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 38 of
                                      112



UH EALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Account ID                                                          Guarantor Namé & Address




Detailed bill For
Patient Name :
Account Class:                            Outpatient                                 Admission Date :                 11/27/2012
Attending Physician :                     M OFFAT , FREDERICK L .                    Discharge Date :                 11/27/2012
Charges
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  Service        Cost              Rev . Proc .                     Description                                     Qty . Amount
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Hospital Charges
  11 27 12         1089             0510      501700465           HCHG CLIN IC LEVEL 3 EST                                    123 .00

       Total hospital charges :                                                                                               123.00




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Hospital Payments
  12/20/12                                         MEDI E                                                                     -58.04
  01/23/13                                         UNITED HEALTHCARE                                                          -14.51
       Total hospital payments:                                                                                               -72.55


Adjustments
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Hospital Adjustments
 12 20 12                                         M ED ICARE                                                                  -50 .45

      Total hospital adjustments'
                                .                                                                                             -50.45


Total balance:                                                                                                                   0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 39 of
                                      112



 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
 Atlanta, GA 30384-2005
 Ph :
 Account ID                                                          Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                              Outpatient                                Service Date From: 10/25/2012
Attending Physician :                                                                 Service Date To: 10/25/2012
Charges
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  Service         Cost              Rev . Proc .                     Description                                     Qty . Amount
  Date            Ctr .             Code Code
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Professional Charges
  10/25/12                                     99212               OFFICE/OUTPT VISIT,EST,L                                     110.00
  10/25/12                                     76942               SONO GUIDE NEEDLE BIOPSY                                     170.00
  10/25/12                                     10022               FINE NEEDLE ASP;W/IMAGIN                                     300.00
       Total professional charges :                                                                                             580.00



  Post Date                                         Recd . From                                                                 Amount
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Professional Payments
  11/19/12                                         MEDICARE                                                                     -22.45
  11/27/12                                         MEDICARE                                                                     -88.16
  12/13/12                                         UNITED HEALTH E                                                               -5.61
  12/13/12                                         UNITED HEALTHCARE                                                            -22.03
       Total professional payments:                                                                                           -138.25


Adjustments
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Professional Adjustments
 11 19 12                                          MEDI    E                                                                   -81 .94
 11 27 12                                          MED I   E                                                                  -225 .78
 i1 27 12                                          MED ICARE                                                                  -134 .03

      Total professional adjustments:                                                                                         -441.75        I
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Total balance :                                                                                                                    0.00      !
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 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 40 of
                                       112



  UH EA LTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph :

  Account ID                                                                     Guarantor Name & Address




 Detailed Bill For
 Patient Name :
 Account Class:                                   outpatient                                        Service Date From: 10/25/2012
 Attending Physician :
                                                                                                    Service Date To: 10/25/2012
 Claarges
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 Professional Charges                                                                                                              =====M=======
  10 25 12                                            88173                   INTERPRETATION OF FNA SM                                    307
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          Total professional charges'
                                                            .                                                                                307 .00

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Professional Pa                   ents                                                                                                  œ=-M-===
 11 29 12                                                  MEDI   E
 12 14 12                                                  UNIT                                                                              -
                                                                                                                                              56.99
                                                               ED HEALTHCARE                                                                 -14 . 25
          Total professional pa                      enbs ..                                                                                 -   71 .24

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Professional Adjustments                                                                                                       =================
  11 29 12                                                 MED I        E                                                                -
                                                                                                                                             235 .76
       Total rofessional adjustments:                                                                                                    -235. 76


Total balance :                                                                                                                                  0
                                                                                                                                                     .   00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 41 of
                                      112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Ac count ID                                                         Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                            Outpatient                                  Admission Date :                10/24/2012
Attending Physician :                     R IBE IRO ? A FONSO C .                     Discharge Date :                10/24/2012
Charges
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 Service         Cost              Rev . Proc.                      Description                                       ty . Amount
 Date            Ctr .             Code Code

Hospital Charges
                                    0250      130700250            LIDOCAINE 2 % SOLN 5 ML                                    4 2 .00
 10/24/12         4030                                             LA CTATED RINGERS SOLN 1                                  173 .00
 10/24/12         4030              0636      130700636
 10/24/12         4030              0636      130700636            ONDANSETRON HCL 4 MG/2Ml                                   36 .00
 10/24/12         403û              0250      130700250            SODIUM CHLORIDE 0.9 % SO                                   36 .00
                                    0250      130700250            PROPOFOL 10 MG/ML EMUL 2                                   4 0 .00
 10/24/12         4030                                             HCHG    ANES MAC 1ST HOUR                               1,04 5 .00
 10/24/12         3010              0370      380700009
 10/24/12         4010              0270      111702405            HCHG    CATH IV 20G INTROCA                                35 .00
                                    0270      111708775            HCHG    SET SM ALLBORE EXTEN                               35 .00
 10/24/12         4010                                                                                                        30 .00
 10/24/12         4010              0270      111705067            HCHG    KIT IV START
                                    0710      501701677            HCHG    RECOVERY STEP DOWN                                263 .00
 10/24/12         3027                                             HCHG    RECOVERY STEP DOWN                                196 .00
 10/24/12         3027              0710      50170167 9
 10/24/12         4035              0271      111705521            HCHG NASAL CANNULA IAKA                                    17 .00
 10/24/12         4035              0271      111700007            HCHG 02/HOUR (AKA 371002                                   13 .00
                                    0270      111700443            BITE BLOCK (GI)                                            27 .00
 10/24/12         4010                                                                                                     1,413 .00
 10/24/12         4010              0270      111705611            NEEDLE U/S ECHOTIP ECHO-
 io/24/I2         aoGs              0310      107701165            CYTO FINE NDL A SPIRATION                                 141 .00
 10/24/12         3035              0750      501704716            HCHG ENDOSCOPY, UPPER (A                                2,662 .00

       Total hospital charges:                                                                                              6,204 .00


Pa     ents
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Hospital Pa           ents
 i1 21 12                                          MEDI   E                                                                   -693 .90
 12 07 12                                          UNITED HEALTH               E                                              -213.96

       Total hospital pa               ents:                                                                                  -907.86
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 42 of
                                      112



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Hospital Adjustments
 11/21/12                                          MEDICARE                                                              -5,299.34
 11/29/12                                          MEDICARE                                                                   3.20
      Total hospital adjustments'
                                .                                                                                        -5,296.14


Total balance :                                                                                                                  0 .00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 43 of
                                          112



      UHEALTH
     University of Miami Health Systems
     P.O . Box 402005
     A tlan ta , GA 30384-2005
     Ph :
     Account ID                                                                   Guarantor Name & Address




    Detailed Bill For
    Patient Name :
    Account Class :                                  outpatient                                      Service Date From: 10/24/2012
    Attending Physician :
                                                                                                     Service Date To: 10/24/2012
    Charges
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      Service          Cost                  Rev .      Proc .                   Description                                ===================
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    Professional Charges                                                                                                      ==============M==
      10 24 12                                          43242                  UPPR GI ENDOSCOPY FN NEE                             1       955 . 00
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           Total professional charges:                                                                                                      95
                                                                                                                                              5 .00

Pa         en ts
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Professional Pa                       ents                                                                                  ========-=======-=-
     11 19 12                                                M ED ICARE
     12 10 12                                                                                                                           -
                                                                                                                                          403 .54
                                                             UN ITED HEALTHCARE                                                         -100 . 89
           Total professional pa                       ents :                                                                           -
                                                                                                                                            504 .43

Adjustments
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Professional Adjustments                                                                                                     =-========--====-
    i 1 19 12                                               MEDIC         E                                                             -
                                                                                                                                            45 0.57
          Total rofessional adjustments'
                                       .                                                                                                -
                                                                                                                                            450 .57


Total balance :
                                                                                                                                              0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 44 of
                                      112



 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
Atlanta, GA 30384-2005
Ph :

Account ID                                                                       Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                                    Outpatient                                       'Service Date From: 10/24/2012
Attending Physician :                                                                               Service Date To: 10/24/2012
Charges
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  Service           Cost                  Rev . Proc .                           Description                                             Qty . Amount
  Date              Ctr.                  Code Code
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Professional Charges
 10 24 12                                             88173                   INTERPRETATION OF FNA SM                                               307.00

        Total professional charges t                                                                                                                 307 .00

Pa      en ts
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Professional Pa                   ents
  il 21 12                                                  MED ICARE                                                                                -56 .99
  12 14 12                                                  UN ITED HEA LTHCARE                                                                      -14 .25
       Total professional parhents'
                                  .                                                                                                                  -71 .24


Adjustments
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 Post Date                                                  Adj. For                                                                                 Amount
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Professional Adjustments
 11 21 12                                                   MEDI          E                                                                        -235 .76

       Total professional adjustments:                                                                                                             -235.76


Total balance:                                                                                                                                           0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 45 of
                                      112



UH EALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :




7558772
Detailed Bill For
Patient Name :
Account Class :                                   Outpatient                                         Service Date From: 10/24/2012
Attending Physician :                                                                                service Date To: 10/24/2012
Charges
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    Service         Cost                  Rev . Proc .                           Description                                              Qty . Amount
    Date            Ctr .                 Code Code
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Professional Charges
    10 24 12                                           00740                   ANESTH,UGI ENDOSCOPY                                   10.1         1,060 .50

         Total professional charges:                                                                                                               1,060 .50


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Professional Pa                   ents
 11 16 12                                                    MEDICARE                                                                                  -91 .33
 12 20 12                                                    UNITED HEALTHCARE                                                                         -22.83

         Total professional pa                         ents:                                                                                         -114 .16


Adjustments
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Professional Ad 'ustments
    11 16 12                                                 MED ICARE                                                                               -946 .34

         Total professional adjustments:                                                                                                             -946.34


Total balance :                                                                                                                                            0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 46 of
                                      112



  UHEALTH
 University of Miami Hea1th Systems
 P.O . Box 4:2005
 Atlanta, GA 30384-2005
 Ph :




 Detailed Bill For
 Patient Name:
 Account Class:                                             Outpatient                                         Service Date From: 09/14/2012
 Attending Physician :
                                                                                                               Service Date To: 09/14/2012
 Charges
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                                                                                          Descraption                         '                     Qty . Amount
  Date                 Ctr .                       Code        Code
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 Professional Charges
  09/14/12                                                     99213                    OFFICE/OUTPT VISIT, EST AL                                    1               180 .00
  09/14/12                                                     92134                    COMPUTERIZED OPHTHALMIC                                       1               112 . 00
          Total professional charges;                                                                                                                                 292 . 00

Pa        ents
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Professional Pa                       ents                                                                                                                        =======
  10 08 12                                                           M EDICARE
  10 22 12                                                                                                                                                            -
                                                                                                                                                                       68 .64
                                                                     UNITED HFALTHCARE                                                                                -17 . 16
         Total professional pa                                 ents:                                                                                                  -   85 .80

Adjustments
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Professional Adjustments
 10 08 12                                                           MED ICARE
 10 08 12                                                                                                                                                         -
                                                                                                                                                                      125 .21
                                                                    M ED ICARE                                                                                        -80 . 99

        Total professional adjustments:                                                                                                                           -206. 20

Total balance:                                                                                                                                                             0. 00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 47 of
                                      112



 UHEALTH
 University of Miami Health Systems
P .O . Box 4 02005
Atlanta, GA 30384-2005
Ph :

Account ID                                                              Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class :                               Outpatient                                 Admission Date :                 09/10/2012
Attending Physician :                          SUSSMQN , DAN IEL A .                     Discharge Date:                  09/10/2012
Charges
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  Service            Cost               Rev . Proc.                     Description                                     Qty . Amount
  Date               Ctr.               Code      Code
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Hospital Charges
  09/10/12 2085                         0402 601702388                 SOFT TISSUE HEAD/NEC U/S                                1,206.00
        Total hospital charges:                                                                                                1,206.00

Pa      en ts
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  Post Date                                            Recd . From                                                                Amount
Hospital Pa              ents
  10 03 12                                             MED ICARE                                                                  -59 .46
  10 17 12                                             UN ITED H EALTHCARE                                                        -37 .42

        Total hospital pa                  ents :                                                                                 -96.88

Adjustments
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Hospital Adjustments
  10 03 12                                            M ED IC      E                                                         -1 ,109 .12

       Total hospital adjustments'
                                 .                                                                                           -1,109.12


Total balance:                                                                                                                        0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 48 of
                                      112



UHEALTH
University of Miami Health Systems
P .O . Box 4 02005
Atlanta, GA 30384-2005
Ph :
Account ID                                                                        Guarantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                                     Outpatient                                          service Date From: 09/10/2012
Attending Physician :                                                                                  Service Date To: 09/10/2012
Charges
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 Date               Ctr .                  Code Code
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Professional Charges
  09 10 12                                             76536                    US,HEAD/NECK TISSUES#B-S                                                 140.00
        Total professional charges:                                                                                                                      140.00

Pa      ents
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  Post Date                                                  Recd . From                                                                                Amount

Professional Pa                    ents
  10 03 12                                                   MEDI   E                                                                                    -23 .58
  11 02 12                                                   UNITED HEALTHCARE                                                                            -5 .89

        Total professional pa                           ents :                                                                                           -29.47


Adjustments
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Professional
 10 03 12
             Adjustments                                     MEDIC          E                                                                          -110.53

        Tota          rofessional adjustments;                                                                                                         -110.53


Total balance;                                                                                                                                               0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 49 of
                                      112



UHEA LTH
University of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :

Account ID                                                                      Guarantor Name & Address




'Detailed Bill For
Patient Name :
Account Class :                                   Outpatient                                        Service Date From: 08/17/2012
Attending Physician:                                                                                Service Date To: 08/17/2012
Charges
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 Service             Cost                 Rev . Proc .                          Description                                             Qty . Amount
 Date                Ctr.                 Code Code

Professional Charges
 08 17 12                                             93018                         DIAC STRESS TST ,INTER                                             95.00
       Total professional charges.
                                 .                                                                                                                     95.00


Pa      en ts
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  Post Date                                                 Recd . From                 .                                                            Amount
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Professional Pa                   ents
 09 13 12                                                   MEDICARE                                                                                 -12.66
  09 26 12                                                  UN ITED HEALTHCARE                                                                        -3 .17

        Total professional pa                         ents:                                                                                          -15.83


Adjustments
 Post Date                                                  Adj. For                                                                                 Amount
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Professional
 0 9 13 12
             Adjustments                                    MED ICARE                                                                                -79 .17

       Total professional adjustments:                                                                                                               -79.17


Total balance :
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 50 of
                                      112



UHEALTH
Un iversity of Miami Health Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :

Account ID                                                           Guarantor Name & Address




Detailed Bill For
Patient Name :
Accoun t Class :                           Outpatient                                Service Date Fr6m: 08/17/2012
Attending Physician :                                                                Service Date To: 08/17/2012
Charges
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  Service        Cost               Rev . Proc.                     Description                                     Qty . Amount
  Date           Ctr .              Code Code
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Professional Charges
  08 17 12                                    78452                MYOCARDIAL SPECT MULTIPL                                   232.00

       Total professional charges :                                                                                           232 .00

Pa     en ts

  Post Date                                        Recd . From                                                                Amount
Professional Pa              ents
 i0 18 12                                          MEDIC       E                                                                  0.00

      Total professional pa                   ents:                                                                              0 .00

Adjustments
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 Post Date                                         Adj. For                                                                   Amount
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Professional Adjustments
 01 03 13                                          MED I       E                                                             -232 .00

      Total professional adjustments:                                                                                        -232.00


Total balance:                                                                                                                    0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 51 of
                                      112



UHEALTH
University of Miami Hea1th Systems
P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Account ID                                                                     Guarantor Name & Address



Detailed Bill For
Patient Name:
Account Class:                                   Outpatient                                        Service Date From: 07/24/2012
Attending Physician :                                                                              Service Date To: 07/24/2012
Charges
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 Service           Cost                  Rev . Proc .                          Description                                              Qty. Amount
 Date              Ctr .                 Code         Code
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Professional Charges
 07 24 12                                             99213                   OFFICE OUTPT VISIT,EST ZL                                             180.00

       Total professional charges:                                                                                                                  180.00


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 Post Date                                                  Recd . From                                                                             Amount
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Professional Pa                   ents
  08 16 12                                                  MED I   E                                                                               -61 .34
  09 07 12                                                  UN ITED HEALTHCARE                                                                      -15 .34

        Total professional pa                         ents:                                                                                          -76.68


Ad  'ustments
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  Post Date                                                 Adj. For                                                                                Amount
Professional
 08 16 12    Adjustments                                    MEDICARE                                                                               -103.32

        Total rofessional ad 'ustments.
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Tqtal balance :
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 52 of
                                      112


 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
 Atlanta, GA 30384-2005
 Ph :
 Account ID                                                                                                             res s




Deùailed Bi11 For
 Patient Name:                                    KATSAVAKIS,ANTHIPE T
Account Class:                                    Outpatient                                        Service Date From: 09/12/2012
Attending Physician :                                                                               Service Date To: 09/12/2012
Charges
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  Service           Cost                  Rev . Proc.                           Description                                            Qty . Amount
  Date              Ctr.                  Code Code
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Professional Charges
  09/12/12                                            99214                   OFFICE/OUTPT VISIT,ESTZL                                              270.00
  09/12/12                                            G8783                   BP scrn perf rec interva                                                0.00
  09/12/12                                            3016F                   PATIENT SCREEN FOR UNHEA                                                0.00
  09/12/12                                            1036F                   CURRENT TOBACCO NON-USER                                                0.00
        Total professional charges :                                                                                                               270.00

Pa      ents
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Professional Payments
  10 03 12                                                  MED ICARE                                                                              -66 .88
  10 24 12                                                  UN ITED HEALTHCARE                                                                     -16 . 72
        Total professional pa                         ents :                                                                                        -83 .60

Adjust      ments
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Profeasional A 'ustments
 10 03 12                                                  M ED ICARE                                                                            -186 .40

       Total professional adjustments'
                                     .                                                                                                           -186.40

Total balance :
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 53 of
                                      112


    UHEALTH
    University of Miami Hea1th Systems
P .O . Box 402005
Atlanta , GA 30384-2005
Ph :
A           t ID                                                                                                  r e ss




Detailed Bill For
Patient Name :
Account Class:                                 Outpatlent                                      Admission Date :                    09/12/2012
Attending Physician :                           KIM , BRIAN W .                                Discharge Date :                    09/12/2012
Charges
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    Service          Cost               Rev . Proc .                        Description                                          Qty . Amount
    Date             Ctr.               Code Code
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Hospital Charges
 09 12 12 1045                          0510       501700461              HCHG CLIN IC LEVEL 2 EST                                          123 .00
        Total hospital charges :                                                                                                            123.00

Pa     en ts
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    Post Date                                            Recd . From                                                                        Amount
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Hospital Pa              ents
 10 05 12                                                MEDICARE                                                                           -58 .04
    10 22 12                                             UN ITED HEALTHCARE                                                                 -14 .51
       Total hospital pa                   ents :                                                                                           -72 .55

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  Post      Date                                              Adj.       For
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Hospital Adjustments
    10 05 12                                            MEDICARE                                                                            -50 .4 5

       Total hos ital adjustments'
                                 .                                                                                                          -50.45

Total balance:                                                                                                                                 0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 54 of
                                      112



    UH EALTH
    University of Miami Health Systems
P .o . Box 4 02005
Atlanta, GA 30384-2:05
Ph :
A          nt ID                                                                                                         r es s




Detailed Bill For
Patient Name:
Account Class:                                    Outpatlent                                        Admission Date :                       09/14/2012
Attending Physician :                             DUBOVY , SAND ER R .                              Discharge Date :                       09/14/2012
Charges
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    Service           Cost                Rev.        Proc .                    Description                                             Qty . Amount
    Date              Ctr.                Code        Code
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Hospital Charges
    09/14/12 2075                         0920 470700185                      HCHG OCT/HEIDELBERG; UN1                                              309.00
    09/14/12 1025                         0510 501700471                      HCHG CLINIC LEVEL 4 NEW                                               216.00
        Total hospital charges :                                                                                                                    525.00

Pa      ents
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Hospital Pa                ents
 10 11 12                                                   MEDICARE                                                                              -141.11
    10 26 12                                                UNITED HEALTHCARE                                                                      -35 .29
        Total hospital payments '
                                .                                                                                                                 -176.40

Adjustments
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Hospital Adjustments
  10 11 12                                                  MEDICARE                                                                                -348 .60

        Total hospital adjustments'
                                  .                                                                                                               -348.60

Total balance :                                                                                                                                         0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 55 of
                                      112


 UHEALTH
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Atlanta, GA 30384-2005
Ph 2
Accoun t ID                                                                      r n or             A    ress




Detailed Bill For
Patient Name :
Account Class:                                      Outpatient                            Service Date From: 10/12/2012
Attending Physician :                                                                     service Date To: 10/12/2012
Charges
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  Service           Cost                Rev . Proc.                      Description                                   Qty . Amount
  Date              Ctr.                Code Code
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Professional Charges
  10 12 12                                           99213              OFFICE OUTPT VISIT ZEST ,L                                180 .00
       Total professional charges:                                                                                                180.00

Pa     ents
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Professional Pa                 ents
  11 14 12                                              MEDICARE                                                                  -43 .83
  12 10 12                                              UNITED HEALTHCARE                                                         -10 .96
       Total professional papnents.
                                  .                                                                                               -54 .79

Adjustments
== = = = == = -- = = == = == = == = -- = = == = = == = == = =- - - =- == = = =- - -- = -= - = == = == - == == = == = = = == = *- - -- =
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Prcfessional
 11 14 12
             Adjustments                                M EDIC      E                                                            -125 .21

       Total professional adjustments'
                                     .                                                                                           -125.21

Total balance :                                                                                                                     0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 56 of
                                       112



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Ph :
          nt ID                                                                           n       r                     ress




Detailed Bill For
Patient Name:
Account Classt                                   Outpatient                                           Service Date From : 10/24/2012
Attending Physician :                                                                                 service Date To: 10/24/2012
Charges
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  Service           Cost                  Rev . Proc .                          Description                                             Qty . Amount
  Date              Ctr .                 Code Code                                                                                       '
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Professional Charges
  10/24/12                                            00740                   ANESTH,UGI ENDOSCOPY                                  i0.1 1,060.50
  10/24/12                                            4256F                   DURATION GENERAL/NEURAXI                                 1     0.00
  10/24/12                                            4047F                   DOC ORDER ANTIBIO GIVEN                                  1     0.00
        Total professional charges :                                                                                                            1,060.50

Pa     ents
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Professional
 11 19 12
             Pa                   ents                      MEDICARE                                                                                -91 .33
  12 14 12                                                  UNITED HEALTH                     E                                                     -22.83
        ToLal professional pa                         ents :                                                                                      -114.16


Adjustments
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Professional
 11 19 12    Adjustments                                    M EDICARE                                                                             -946 .34

        Total rofessional adjustments:                                                                                                            -946.34

Total balance )                                                                                                                                         0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 57 of
                                       112


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  Ph :
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 Detailed Bill For
 Patiene Name:
 Account Class:                             Outpatlent                                          Admission Date :                      10/12/2012
 Attending Physician :                      SUSSMAN , DANIEL A .                                Discharge Date :                      10/12/2012
 Charges
 == = = = == = == = == = == == = == = = = == = = == = == = == = = == = == = == = = == = == = == = == = == = == = == == = = = == == = = =
  Service         Cost               Rev . Proc .                           Description                                             Qty . Amount
  Date            Ctr .              Code Code
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 Hospital Charges
  10 12 12          1095             0510      501700461                  HCHG CLINIC LEVEL 2 EST                                               123 . 00
       Total hospital charges :                                                                                                                 123 . 00

Pa     en ts
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Hospital Pa            ents
  11 06 12
  12 03 12                                             MED IC E                                                                                 -
                                                                                                                                                  58 .04
                                                       UN ITED HEALTHCARE                                                                       -14 . 51
       Total hosp ital pa               ents.
                                            .                                                                                                   -72 . 55

Adjustments
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Hospital Adjustments
  11 06 12                                            MED ICARE                                                                                -
                                                                                                                                                   50 .45
      Total hospital adjustments:                                                                                                              -50.45

Total balance :                                                                                                                                     0 . 00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 58 of
                                      112



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Detailed Bill For
Patient Name :
Account Class :                           Outpatient                                 Service Date From: 11/27/2012
Attending Physician :                                                                Service Date To : 11/27/2012
Charges
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  Service        Cost              Rev . Proc .                    Description                                     Qty . Amount
  Date           Ctr .             Code      Code
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Professional Charges
  11/27/12                                   99213                OFFICE/OUTPT VISIT,EST,L                                   180.00
       Total professional charges:                                                                                           180.00

Pa     ents
= -= - - == = == = = -- = - === = - *= = == = = -= = == = == = = == - - == = == = == = -= = == = == - == = = == - -= = == = == = = =- =
  Post Date                                       Recd . From                                                                Amount
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Professional Payments
 12 24 12                                         M EDICARE                                                                  -43 .39
 01 08 13                                         UNITED HEALTHCARE                                                          -10 .85
       Total professional pa                 ents'
                                                 .                                                                           -54 .24

Adjustments
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  Post Date                                         Adj. For                                                                  Amount
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Professional
  12 24 12
                       Adjustments                  MEDICAR E                                                                -125 .21
 12 24 12                                         MEDICARE                                                                     -0 .55

      Total professional adjustments'
                                    .                                                                                       *125.76

Total balance :                                                                                                                 0 .00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 59 of
                                        112


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  Ablanta, GA 30384-2005
  Ph :
  Account ID                                                                                     n       t                    re ss




  Detaïled Bill For
 Patient Name :
 Account Class :                                    Outpataent                                               Admission Date :
 Attending Physician :                              KIM , BR IAN W .                                         Discharge Date:           10/25/2012
                                                                                                                                       10/25/2012
 Charges
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   Service            Cost          Rev . Proc,                      Descrip bion                    =====================
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   Da te             Ctr .          Code Code
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 Hospital Charges                                                                                         ==================
   10/25/12 1045                           0361 360700447                       HCHG FINE NEEDLE ASPIRAT                                           988
   10/25/12 2065                           0310 107701165                       CYTO FINE NDL ASPIRATION                                           141 .00
                                                                                                                                                        00   .



         Total hospital charges :                                                                                                         1
                                                                                                                                               , 129 .00

 Pa      ents
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Hospital Pa               ents                                                                                                                -

  11 21 12                                                   MEDICARE
  12 07 12                                                   UN ITED HEALTH                                                                    -
                                                                                                                                                   269 .52
                                                                                          CARE                                                     -69 . 59
        Total hospital pa                     ents :                                                                                       -       339 .11

Adjustments
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Hospital Adjustments                                                                         ====M==V==M===V=X===-             -=====
 11 21 12                                                   MEDIC         E                                                                -
                                                                                                                                                   789 .89
       Total hospital a justments:                                                                                                         -       789 .89
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Total balance :                                                                                                                                         0.        i
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 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 60 of
                                       112



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ph :
             t ID                                                                                                       r e ss




Detailed Bill For
Patient Name:
Account Class:                                    Outpatient                                        Admission Date :                      07/20/2012
Abtending Physician :                             SUSSMAN, DANIEL A .                               Discharge Date:                       07/20/2012
Charges
= = = == == = == = = == = = == = == == = = = == = == == = = == = == = = = == = == == = = == = == = == == = = == == = = == 0 == = = == =
  Service           Cost                 Rev . Proc.                            Description                                             Qty . Amount
 Date               Ctr .                Code         Code
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Hospital Charges                                                                                                          .
  07/20/12 1095                           0510 501700461                      HCHG CLINIC LEVEL 2 EST                                               123.00
        Total hospital charges '
                               ,                                                                                                                    123 .00

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Hospital Pa               ents
 08 14 12                                                   MEDICARE                                                                                -58 .04
  08 23 12                                                  UNITED HEALTHCARE                                                                       -14 .51
        Total hospital pa                     ents.
                                                  .                                                                                                  -72.55


Adjustments
  Post Date                                                 Ad '. For                                                                               Amount
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Hospital
 08 14 12Ad 'ustments                                       MED IC        E                                                                          -50 .45

        Total hospital adjustments:                                                                                                                  -50.45


Total balance:
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 61 of
                                          112


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    Ph :
               t ID                                                                     n     r                A    ress




    Detailed Bill For
    Patient Name :
 Account Class:
 Attending Physician :                            Outpatient                                      Service Date From: 07/20/2012
                                                                                                  Service Date To: 07/20/2012
 Charges
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    Date    Ctr .                         Code Code
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 Professional Charges                                                                               ======================
    OV 20 12                                         99214                  OFF ICE OUTPT V ISIT
                                                                                                              , EST ,L                       270 . 00
         Total professional charges:                                                                                                         270 .00

Pa       ents
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Professional Pa                  ents                                                                                                 -

    08 13 12                                              MEDICARE
    08 24 12                                              UNITED HE                                                                          -
                                                                                                                                              66 .88
                                                                   ALTHCARE                                                                  -16 . 72
         Total professional pa                      ents.
                                                        .                                                                                    -
                                                                                                                                                 83 .60

Adjustments
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  Post Date                                         Adj . For                                  ====-
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Professional Adjustments                                                                                                  =========-
                                                                                                                                   -======
    08 13 12                                             MED IC        E                                                                 -
                                                                                                                                             186 .40
        Total professional ad 'ustments:                                                                                                 -
                                                                                                                                             186 .4 0


Total balance:                                                                                                                                   0
                                                                                                                                                     .   00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 62 of
                                       112


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 Atlanta, GA 30384-2005
 Ph :
 A c unt ID                                                                                                           XeSS




Detailed Bill For
 Patient Name :
Account Class:                                   Outpatient                                       Service Date From: 06/01/2012
Attending Physician :                                                                             Service Date To: 06/01/2012
Charges
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  Service           Cost                  Rev . Proc.                          Descripbion                                           Qty , Amount
  Date              Ctr.                  Code       Code
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Professional Charges
  06/01/12                                           17110                  DESTRUC FLAT WARTS, UP T                                             170.00
  06/01/12                                           99214                  OFFICE/OUTPT VISIT#EST,L                                             270.00
  06/01/12                                           G8553                  Rx certified EHR                                                       0.00
        Total professional charges :                                                                                                             440.00

Payments
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Professional Payments
  06 25 12                                                MEDICARE                                                                               -90 .42
  07 18 12                                                   P                                                                                   -22 .60
  08 07/12                                                MEDICARE                                                                                 -5.95
  09 04 12                                                AARP                                                                                     -1 .49
       Total professional payments '
                                   .                                                                                                           -120.46

Adjustments
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Professional Adjustments
  06 25 12                                                M EDICARE                                                                            -156 .98
  08 07 12                                                M EDICARE                                                                            -162 .56

       Total professional adjustments'
                                     .                                                                                                         -319.54

Total balance :                                                                                                                                     0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 63 of
                                       112



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Atlanta , GA 30384-2005
Ph :
A ccount ID                                                                      r ntor             e &          ress




Detailed Bill For
Patient Name:
Account Class :                                Outpatient                                     Service Date From: 05/23/2012
Attending Physician :                                                                         service Date To: 05/23/2012
Charges
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  Service Cost                     Rev . Proc.                      Description                                    Qty . Amount
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Professional Charges
  05/23/12                                         99212                  OFFICE/OUTPT VISIT,EST,L                                1         110.00
  05/23/12                                         G8553                  Rx certified EHR                                        1           0.00
         Total professional charges :                                                                                                       110 .00

Pa       en ts
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  Post Date                                              Recd . From                                                                        Amount
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Professional Pa                 ents                 '
 06 25 12                                                MEDICARE                                                                           -37 .09
 07 17 12                                                  RP                                                                                -9 .27
         Total professional pa                     ents :                                                                                   -46 .36


Adjustments
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Professional
 06 25 12    Adjustments                                 MEDIC        E                                                                     -63 .64

         Total rofessional adjustments:                                                                                                     -63.64

Total balance:                                                                                                                                  0 .00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 64 of
                                          112


    UHEALTH
    University of Miami Health Systems
    P .O . Box 402:05
    Atlanta, GA 30384-2005
    Ph :
             n e ID                                                                     rantor                     Address




    Detailed Bill For
 Patient Name :
 Account Class:                                    Outpatient                                           Admission Date :                   05/17/2012
 Attending Physician :                             CABRAL, RICARDO J .                                  Discharge Date :                   05/17/2012
 Charges
    == = = == = = == = == = == = == = = == == = = == = == = = == = == = == = == = == = == = = = == == = == = == == = = == = == = == = == =
     Service
     D               Cost                  Rev . Proc.                           Description                                             Qty .         Amount
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Hospital Charges
     05/17/12 1099
     05/17/12 2025                         0352 570700675
                                           0636 501700541                      ABDOMEN ENHANCED
                                                                               ISOVUE 300                                                  l 3, 339.00
                                                                                          lML --    -
                                                                                                                     BOTTL             150   1 ,950 .00
          Total hospital charges'
                                .                                                                                                                 5 , 289 .00

Pa        ents
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Hospital Pa               ents
     06
     10 12
        29 12
           12                                               MEDICARE                                                                               -
                                                                                                                                                       204 .91
                                                               P                                                                                       -97 . 11
          Total hospital pa                   ents:                                                                                                -302 . 02

Adjustments
*
-= - - = = -- = = = = = = = - - = = = = = = = = = = - - = = = = = = - = = = - = = = = = - = = - -   = - == = == = - -= = == = == = == - = =- = = == = -=
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Hospieal Adjustments
    06 12 12                                                MED ICARE                                                                         -
                                                                                                                                                  4 ,986 .98
         Total hospital adjustments;                                                                                                          -4,986.98

Total balance:                                                                                                                                           0 . 00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 65 of
                                       112



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Atlanta, GA 30384-2005
Ph :
A c o n t ID                                                                                             re s s




Detailed Bill For
Patient Name:
Account Class :                             Outpatlent                                 service Date From: 05/17/2012
Attending Physician :                                                                  service Date To : 05/17/2012
Charges
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  Date           Ctr .              Code Code
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Professional Charges
  05 17 12                                     74160                CT SCAN OF ABDOMEN CONTR                                     320 .00

       Total professional charges '
                                  .                                                                                              320.00

Pa     ents
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Professional Pa              ents
 06 07 12                                           MEDICARE                                                                     -53 .73
 06 28 12                                           AAR P                                                                        -13 .43      1
                                                                                                                                              I
       Total professional pa ents:                                                                                               -67.16       !
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Adjustments
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Professional Ad 'ustments                                                                                                   '
  06 07 12                                          MED ICARE                                                                   -252 .84

      Total professional adjustments:                                                                                           -252.84

Total balance:                                                                                                                      0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 66 of
                                      112



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University of Miami Health Systems
P .O . Box 4 02005
Atlanta , GA 30384-2005
Ph :




Detailed Bill For
Patient Name :
Account Class :                                  Outpatlent                                       Service Date From: 05/16/2012
Attending Physician :                                                                             Service Date To: 05/16/2012
Charges
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    Service        Cost                 Rev . Proc.                           Description                                            Qty . Amount
    Date           Ctr.                  Code       Code
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Professional Charges
 05 10 12                                            88305                  SURG PATH,LEVEL IV                                                   387.49
         Total professional charges:                                                                                                             387 .49

Pa       ents
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Professional Pa                  ents
 06 08 12                                                 MEDICARE                                                                               -89 .11
 06 29 12                                                 AARP                                                                                   -22 .28
         Total professional pa                      ents '
                                                         .                                                                                     -111.39

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Professional
  06 08 12
                           Adjustments                       MEDICARE                                                                         -276 .10

         Total professional adjustments'
                                       .                                                                                                       -276.10

Total balance:                                                                                                                                      0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 67 of
                                      112



 UHEALTH
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P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Account ID                                                                                 n     r                       r e ss




Detailed Bill For
Patient Name:
Account Class:                                    Outpatient                                         service Date From: 05/16/2012
Attending Physician :                                                                                service Date To: 05/16/2012
Charges
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           &                     '
  Service           Cost                  Rev . Proc .                          Description
                                                                                     s .                                                Qty . Amount
  Date              Ctr.                  Code Code
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Professional Charges
  05/16/12                                            99214                   OFFICE/OUTPT VISIT,ESTJL                                               270.00
  05/16/12                                            G8553                   Rx certified EHR                                                         0.00
        Total professional charges:                                                                                                                  270.00

Pa      en ts
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Professional Pa                   ents
 06 06 12                                                   MEDICARE                                                                                 -90 .42
 06 19 12                                                     RP                                                                                     -22 .60
        Total professional pa                         ents:                                                                                       -113 .02

Adjustments
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 Post Date                                                 Ad '. For                                                                                Amount
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Professional Adjustments
 06 06 12                                                  MEDICARE                                                                               -156 .98

       Total professional adjustments:                                                                                                            -156.98

Total balance :                                                                                                                                         0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 68 of
                                      112


 UHEALTH
 University of Miami Hea1th Systems
 P .O . Box 402005
 Atlanta, GA 30384-2005
 Ph :
                                                                                                                          re s s
e            t

Detailed Bill For
Patient Name :
Account Class:                                     Outpatlent                                        Service Date From: 05/10/2012
Attending Physician :                                                                                service Date To) 05/10/2012
Charges
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  Service            Cost                  Rev. Proc.                            Description                                             Qty . Amount
  Date               Ctr .                 Code Code
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Professional Charges
   05 10 12                                            56515                   DESTRUCTION,LESION ISI,VU                                              940.00
        Total professional charges '
                                   .                                                                                                                  940 .00

Pa      en ts
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Professional Pa ents
  06 01 12                                                   MEDICARE                                                                               -211 .17
  06 28 12                                                      P                                                                                    -52 .79
        Total professional pa                          ents;                                                                                        -263.96

Adjustments
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Professional Adjustments
  06 01 12                                                  M EDICARE                                                                              -676 .04

        Total professional adjustments'
                                      .                                                                                                            -676.04

Total balance :                                                                                                                                          0.00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 69 of
                                       112


 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
 Atlanta, GA 30384-2005
 Ph :
A ccoun t ID                                                                                          ress




Detailed Bill For
Patient Name :
Account Class :                           Outpatient                                 Admission Date :                04/24/2012
Attending Physician :                     MOFFA T , FREDER ICK L .                   Discharge Date :                04/24/2012
Charges
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  service        Cost               Rev . Proc .                    Description                                    Qty . Amount
  Date           Ctr .              Code      Code
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Hospital Charges
  04/24/12 2045                     0401 501700489                DIGITIZATION OF FILM.                                       81.00
  04/24/12 2045                     0401 501700649                DIGITAL DIAGNOSTIC     O                                   821.00
  04/24/12 1089                     0510 501700465                HCHG CLINIC LEVEL 3 EST                                    123,00
        Total hospital charges:                                                                                           1,025.00

Pa      ents
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  Post' Date                                       Recd. From                                                                Amount
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Hospital Pa           ents
  06 06 12                                         MEDICARE                                                                 -171 .45
  10 29 12                                         AAR P                                                                     -4 2 ,87
        Total hospital pa              ents :                                                                               -214 .32

Adjustments
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Hospital Adjustments
  06 06 12                                           MED ICARE                                                               -810 .68

        Total hospital adjustments:                                                                                         -810.68

Total balance :
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 70 of
                                      112



 UH EALTH
University of Miami Hea1th Systems
P .O . Box 402005
A tlanta , GA 30384 -2005
Ph :




Detailed Bill For
Patient Name:
A ccoun t Class :                         Outpataent                                 service Date From: 04/24/2012
Attending Physician :                                                                service Date To: 04/24/2012
Charges
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    Service          Cost          Rev . Proc .                    Description                                     Qty . Amount
    Date             Ctr.          Code Code
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Professional Charges
    04 24 12                                  99213               OFFICE OU TPT V ISIT /EST ZL                               180 .00
           Total professional charges :                                                                                      180.00

Pa         en ts
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    Post Date                                     Recd . From                                                                Amount
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Professional Pa              ents
    05 17 12                                      MED IC      E                                                              -43 .39
    06 08 12                                         P                                                                       -1.0 .85
           Total professional pa             ents:                                                                           -54 .24

Adjustments
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Professional
  05 17 12
                       Adjustments                  MEDICARE                                                                -125 .21
    06 08 12                                           P                                                                       -0 .55

           Total professional adjustments:                                                                                 -125.76

Total balance :                                                                                                                 0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 71 of
                                      112



 UH EALTH
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P .O . Box 402005
Atlanta, GA 30384-2005
Ph :
Acc      nt ID                                                               n                        ress




Detailed Bill For
Patient Name:
Account Class :                             Outpatient                               Service Date From: 04/24/2012
Attending Physician :                                                                Service Date To: 04/24/2012
Charges
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  Service        Cost              Rev. Proc .                      Description                                    Qty. Amount
  Date           Ctr .             Code       Code
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Professional Charges
  04/24/12                                    77051               COMPUTER AIDED    MOGRAP                                    20.00
  04/24/12                                    G0204               DIAGNOSTI    MOGRAPHYDIG                                   210.00
       Total professional charges:                                                                                           230.00

Pa     en ts
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  Post Date                                        Recd . From                                                               Amount
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Professional Pa             ents
  05 15 12                                        MEDIC       E                                                              -40 .55
  05 30 12                                           P                                                                       -10 .13
      Total       rofessional           a    ents :                                                                          -50.68

Adjustments
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Professional Adjustments
 0S 15 12                                         MEDICARE                                                                  -16 .28
 05 15 12                                         MEDICARE                                                                 -163 .04

      Total professional adjustments:                                                                                      -179.32

Total balance :                                                                                                                 0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 72 of
                                      112



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P .O . Box 402005
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Ph :
Acc        nt ID




Detailed Bill For
Patient Name :
Account Class :                                Outpatient                                     service Date From: 04/17/2012
Attending Physician :                                                                         Service Date To) 04/17/2012
Charges
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    Service        Cost                Rev . Proc.                         Description                                          Qty . Amount
    Date           Ctr.                Code        Code
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Professional Charges
    04/17/12                                       99214                 OFFICE/OUTPT VISIT,EST,L                                          270.00
    04/17/12                                       G8553                 Rx certified EHR                                                    0.00
       Total professional charges.
                                 .                                                                                                         270 .00

Pa     en bs
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    Post Date                                           Recd . From                                                                        Amount
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Professional Pa                 ents
 05 09 12                                               M EDICAR E                                                                         -90 .42
 05 30 12                                                   P                                                                              -22 .60
       Total professional pa                      ents:                                                                                  -113.02

Adjustments
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Professional Adjustments
    05 09 12                                            MEDICARE                                                                         -156 .98

       Total professional adjustments'
                                     .                                                                                                   -15.
                                                                                                                                            6 .98

Total balance;                                                                                                                                 0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 73 of
                                      112



UHEALTH
University of Miami Health Systems
P .O . Box 402005
A t lanta , GA 30384 -2005
Ph :
          n t ID                                                                                                       res s




Detailed Bill For
Patient Name :
Account Class:                                   Outpatient                                       Service Date From : 03/22/2012
Attending Physician :                                                                             Service Date To: 03/22/2012
Charges
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  Service           Cost                 Rev . Proc .                         Description                                            Qty . Amount
  Date              Ctr .                Code Code
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Professional Charges
  03/22/12                                           99212                  OFFICE/OUTPT VISIT,EST,L                                            110.00
        Total professional charges :                                                                                                            110.00

Pa      ents
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  Post Date                                               Recd . From                                                                           Amount
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Professional Pa                  ents
  04 17 12                                                MEDICARE                                                                              -37 .09
  04 30 12                                                   P                                                                                   -9 .27
       Total professfonal pa                         ents :                                                                                     -46.36

Adjust      ments
== = = = == = == = == = = == == = = == = = == == = = = == == = = = == == = = == = == = == = -- = == = == - -- = = == = == = == == = = -

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Professional A justments
  04 17 12                                                M EDICARE                                                                             -63 .64

       Total professional adjustments'
                                     .                                                                                                          -63.64

Total balance :                                                                                                                                     0 .00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 74 of
                                       112



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A cco n t ID                                                        Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class :                           Outpatlent                                 Service Date From: 03/14/2012
Attending Physician :                                                                Service Date To: 03/14/2012
Charges
= = = == = == = = == = == == = = == = = == = = == = = == = = == == = = == = == = == = == == = == = = == == = = = == == = == = = == = = =
  Service        Cost              Rev . Proc.                      Description                                    Qty . Amount
  Date           Ctr .             Code Code
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Professional Charges
  03/14/12                                    58340               CATH/INJECT HYSTEROSALPI                                    960.00
       Total professional charges :                                                                                           960 .00

Payments
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Professional Payments
  05 21 12                                        MEDICARE                                                                      0 .00
  10 22 12                                        MED I   E                                                                   -53 .60
  11 16 12                                        UN ITED HEALTH CARE                                                         -13 .40
       Total professional payments :                                                                                          -67.00

Adjustments
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  Post Date                                         Adj. For                                                                  Atnount
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Professional Adjustments
  10 22 12                                        MEDICARE                                                                  -893 .00

      Total professional adjustments:                                                                                      -893.00

Tobal balance :                                                                                                                  0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 75 of
                                      112


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Detailed Bill For
Patient Name:
Account Class :                                                                                     Service Date From: 03/01/2012
Attending Physician :                                                                               Service Date To: 03/01/2012
Charges
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 Service            Cost                  Rev . Proc.                           Description                                             Qty . Amount
 Date               Ctr.                  Code Code                                                                                              '
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Professional Charges
  03/01/12                                            76856                   ECHO,PELVIC (NONOBSTETRI                                              330.00
  03/01/12                                            76830                   ECHOGRAPHYZT SVAGINAL                                                 330.00
        Total professional charges'
                                  .                                                                                                                 660.00

Pa     ents
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Professional Pa                  ents
 04 04 12                                                   MED ICARE                                                                             -218.21
 04 12 12                                                   AARP                                                                                   -54 .55
       Total professional pa                          ents:                                                                                       -272.76

Adjustments
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Professional Adjustments
 04 04 12                                                  MEDTCARE                                                                               -194 .34
 04 04 12                                                  MEDICAR E                                                                              -192 .90

       Total professional adjustments'
                                     .                                                                                                            -387.24

Total balance :
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 76 of
                                      112



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Detailed Bill For
Patient Name :
Account Class:                              Outpatlent                                 service Date From: 02/01/2012
Attending Physician :                                                                  service Date To2 02/01/2012
Charges
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  Service          Cost               Rev. Proc.                      Description                                    Qty . Amount
  Date             Ctr.               Code Code
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Professional Charges
  0Q/01/l2                                      G0l01               CA SCREENP
                                                                             'PELVIC/BREAST                                      85.00
  02/01/12                                      Q0091               OBTAINING SCREEN PAP SME                                     80.00
       Total professional charges:                                                                                             165.00

Pa     ents
  - - - - -   =   - -- - - -= =- -- = = - -- -- = = = -- - -= - = -- -- = == - - -- - == - -- - -= - == - -. . == = =- - -= = - -- -= - =
  Post Date                                          Recd . From                                                               Amount
Professional Pa                ents
  02 22 12                                           MEDICARE                                                                     0 .00
       Total professional pa                    ents:                                                                             0.00

Adjustments
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 Post Date                                           Adg'. For                                                                 Amount
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Professional Adjustments
 OV 11 12                                            MEDICAR E                                                                 -85 .00
 07 11 12                                            MED ICARE                                                                 -80 .00
       Total professional adjustments:                                                                                       -165.00

Total balance :                                                                                                                   0.00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 77 of
                                      112



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Ph :




Detailed Bill For
Patient Name :
Account Class:                                         Outpatlent                                Admission Date :                  01/24/2012
Attending Physician :                                  MOFFAT , FREDER ICK L .                   Discharge Date :                  01/24/2012
Charges
= = = == = == = = == = == == = = == = = == = = = == = == == = = == = == = == = = == == = = == = == = == = == = == = == = = == = = = == =
 Service                 Cost                 Rev . Proc .                     Description                                        Qty . Amount
 Date                    Ctr.                 Code Code
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Hospital Charges
 01 24 12                    1089             05 10      501700465           HCHG CLIN IC LEVEL 3 EST                                       117 .00
           Total hospital charges '
                                  .                                                                                                         117.00

Pa         en ts
 Post Date                                                       Recd . From                                                               Amount
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Hospital Pa                   ents
 02 20 12                                                        MEDICARE                                                                   -57 .99
 03 01 12                                                           P                                                                       -14 .50
           Total hospital pa                     ents )                                                                                     -72 .49

Adjustments
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 Post Date                                                       Ad '. For                                                                 Amount
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Hos ital Adjustments
 02 20 12                                                        MEDICARE                                                                  -44 .51

           Total hospital adjustments:                                                                                                     -44.51

Total balance:                                                                                                                                0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 78 of
                                      112



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Detailed Bill For
Patient Name :
Account Class :                           Outpatlent                                 service Date From: 01/24/2012
Attending Physician :                                                                service Date To: 01/24/2012
Charges
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 Service         Cost              Rev . Proc .                     Description                                    Qty . Amount
 Date            Ctr .             Code Code
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Professional Charges
 01 24/12                                     99213               OFFICE OUTPT VISIT,EST,L                                    180.00
      Toeal professional charges '
                                 .                                                                                            180.00




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Professional Payments
 02/23/12                                         MEDICARE                                                                    -43.39
 03/0Q/12                                         AARP                                                                        -10.85
 08/07/12                                         MEDICARE                                                                     43.39
 08/07/12                                         MEDICARE                                                                      0.00
      Total professional payments:                                                                                            -10.85




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Professional Adjustments
 02/23/12                     MEDICARE                                                                                      -125.21
 03/02/12                     AARP                                                                                            -0.55
 08/07/12                     MEDICARE                                                                                       124.66
 05/30/13                     UNITED HEALTHCARE                                                                             -168.05
    Total profesaional adjustments)                                                                                         -169.15

Total balance :                                                                                                                  0 .00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 79 of
                                       112


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 Detailed Bill For
 Patient Name:
 Account Class :                                  Outpatlent                                        Admission Date :                          41/03/2012
 Attending Physician:                             MOFFAT , FREDERICK L .                            Discharge Date :                          01/03/2012
 Charges                                                                                                                                         .
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  Service           Cost                   Rev . Proc .                         Description                                                 Qty .       Am ount
  Date              Ctr .                  Code       Code
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Hospital Charges
  01 03 12            1089                 0510       501700465               HCHG CLINIC LEVEL 3 EST                                                   117 . 00
          Total hospital charges :                                                                                                                      117 . 00

Pa        ents
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  Post Date                                                 Recd. From                                                                                 Amount
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Hospital Pa              ents
  02 03 12                                                  MEDIC         E                                                                              -6 . 72
  02 24 12                                                    RP                                                                                        -65 . 77
         Total hos ital                a     ents :                                                                                                    -72 . 4 9

Adjustments
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Hospital
 02 03 12
         Adjustments                                       MED ICARE                                                                                   -44 . 51

         Total hospital adjustments:                                                                                                                   -44.51

To ta l ba lance z
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 80 of
                                       112


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 P .O . Box 4 02005
 A tlanta , GA 30384 -2005
 Ph :
 Account ID                                                         Guarantor Name & A dress




Detailed Bill For
Patient Name :
Account Class:                            Outpatient                                 serviee Dabe From: 01/03/2012
Attending Physician :                                                                Service Date To: 01/03/2012
Charges
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 Service
 D               Cost              Rev . Proc .                    Description                                     Qty .     A mount
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Professional Charges
 01 03 12                                    99024                POST-OP FOLLOW-UP VISIT
      Total professional charges.
                                .                                                                                               0 . 00




Total balance:                                                                                                                  0 . 00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 81 of
                                       112


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 Atlanta, GA 30384-2005
 Ph :
 Acc            t ID                                                                                                     re ss




 Detailed Bill For
 Patient Name :
 A ccoun t Class :                                 Outpatient                                        Admission Date:                       12/13/2011
 Attending Physician :                             MOFFAT, FREDERICK L.                              Discharge Date :                      12/13/2011
 Charges
 = = = = = == = == == = = == = = == = == = = == = = == = == = == = = == == = == = == = = == = == = == = == = == = == = & == = == = == = =
   Service             Cost                 Rev . Proc.                          Description                                             Qty .       Amoun t
   Date                Ctr .                Code Code
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 Hospital Charges                                             '
  12 13 11 1089                             0510       501700465               HCHG CLINIC LEVEL 3 EST                                               117 . 00
           Total hospital charges '
                                  .                                                                                                                  117 . 00

Pa         ents
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  Post Date                                                  Recd . From                                                                            Amount
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Hospital Pa                 ents
 01 05 12                                                    MED ICARE                                                                               -60 . 78
 01 30 12                                                       P                                                                                    -15 . 19
           Total hospital pa                   ents:                                                                                                 -75 . 97

Adjustments
-- -
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  Post Date                                                 Adj. For                                                                                Amount
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Hospital Adjustmenta
  0i 05 12                                                  M EDICARE                                                                               -41 . 03

          Tobal hospital adjustments:                                                                                                               -41.03

Total balance:                                                                                                                                          0 . 00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 82 of
                                       112


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 Ph :
Account ID                                                          Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class :                           OuLpatient                                   Service Date From: 13/13/2011
Attending Physician :                                                                  Service Date To: 12/13/2011
Charges
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 Service        Cost               Rev .     Proc .                Description                                      Qty . Amount
 Date           Ctr.               Code      Code
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Professional Charges
 12 13 11                                    99024               POST-OP FOLLOW-UP VISIT                                          0 . 00
      Total professional charges:                                                                                                 0 . 00




Total balance :                                                                                                                  0 . 00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 83 of
                                          112


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    Atlanta, GA 30384-2005
    Ph :

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    Detailed Bill Fqr
    Patient Name:
Account Class:                                       Outpatlent                                          Service Date From: 12/07/2011
Attending Physician :                                                                                    Service Date Tot 12/07/2011
Charges
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     Service           Cost                 Rev . Proc .                           Description                                              Qty . Amount
     Date              Ctr .                Code Code
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Professional Charges
     12 07/11                                            19020                   EXPLO/DRATN BREAST ABSCE                                     1        775.00
           Total professional charges:                                                                                                                 775 . 00

Pa         en ts
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Professional Pa                     ents
     03 21 12                                                 MEDICARE                                                                               -283 . 05
     04 02 12                                                 AARP                                                                                    -70 . 76
           Total professional pa                        enta :                                                                                       -353 . 81

Adjustmenbs
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    Post Date                                                 AdJ'. For                                                                               Amount
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Professional Adjustments
    03 21 12                                                  MEDIC         E                                                                        -421 . 19

         Total professional adjustments:                                                                                                             -421.19

Total balance :                                                                                                                                           0 . 00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 84 of
                                          112



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    Atlanta, GA 30384-2005
    Ph :

 e            tID                                                                                 r                      ress




 Detailed Bill For
 Patient Name :
 Account Class :                                   Outpatient                                         Admission Date :
 Attending Physician :                             MOFFAT , FR EDER ICK L .                           Discharge Date :
                                                                                                                                           12/06/2011
                                                                                                                                           12/06/2011
 Charges
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    Service         Cost                  Rev .        Proc .                    Description                                             Qty . ========
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 Hospital Charges                                                                                                                          ===========
    12 06 11          1089                0510        501700461               HCHG CLINIC LEVEL 2 EST                                     1                11V .
                                                                                                                                                                   00
         Total hospital charges:                                                                                                                           117. 00

Pa       ents
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Hospital Pa               ents                                                                                                                         =-====
    12 28 11                                                MED ICARE
    01 13 12                                                  R                                                                                        -
                                                                                                                                                         60 .78
                                                                P                                                                                      -15 . 19
        Total hos ital a                      ents :                                                                                                   -
                                                                                                                                                           75 .97

Adjustments
== - - = - -= == = = == = -= = == = - == = =- - = -- = =
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    Post Date                                              AdJ'. For                                                                                    =
                                                                                                                                                   Amount
= - - = =- - M == = *- - - == =- = - == = == = - -= = == - - =- == = = -= - -M = = =- - =- = == = = == == & == = = =
Hospital Adjustments                                                                                                                   =-=====-====
    12 28 11                                               MED IC        E                                                                             -   41 5.03
        Total hospital adjustments:                                                                                                                -41. 03

Total balance:                                                                                                                                              0 . 00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 85 of
                                        112


  UHEALTH
  University of Miami Health SysLems
  P .o . B ox 402005
  Atlanta, GA 30384-2005
  Ph :
  Acc un t ID
                                                                                Guarantor Name               Address



 Detailed Bill For
 Patient Name :
 Account Class:                                    Outpatient                                   Service Date From: 12/06/2011
 Attending Physician:                                                                           service Date To: 12/06/2011
 Charges
 = = = == = == = = == = == = == == = == = = = == = == = = == = = == == = == = = == == =
  Servïce            Cost            Rev . Proc.                     Description =============================
                                                                                                          Qty . Am ount
  Date               Ctr .           Code Code                                                                       '
 = = = == = == = = == = == = == = == = == = = == = = == = = == = == == = == = = == == = ==
 Professional Charges                                                                      ===========================
  12 06 11                                               99214               OFFICE OUTPT VISIT
                                                                                                            , EST ,L                       270 . 00
        Total professional charges:                                                                                                        270
                                                                                                                                                  .   00

Payments
= = = == = = == - == M = == == = == = = ==
                                                  == = - = == = == = = == = = == == == = = == == = = == = = == = == = == = = ==
                                                                                                                                   -
  Post Date                                                   Recd . From                                                          -=======--
                                                                                                                                      Amoun t
= = = = = = = = = = = = = = = = = = = = = = = = = = --
                                                         = = == = = =M = = == = = === -
                                                                                      - = == = == == = = == = = == = == = == = = == = == =
Professional Payments                                                                                                                          =====
  01 18 12                                                   MED ICARE
  02 02 12                                                   AAR P SU PERPA                                                                -
                                                                                                                                            67 .24
  03 12 12                                                   MED TCARE     YOR                                                             -16 . 81
                                                                                                                                             0 .00
       Total professional pa                             ents:                                                                             -   84 .05

Adjustments
= = = == = = = == = ** - = == - *= == * = -M = = =
                                                   = œ == = = = == M= * œ- - = =œ =- = == = * ==
  Post     Date                                      Adj For       .                             ======V==*==H===M=======
== = = == = = = = == -= = = =- = == == = - == = = = == = == = = == = == -= = = -= -= = = - -- -= = = -- -
                                                                                                                      Amount
Professional Adjustments                                                                                  u=w===========-
                                                                                                                        -===
 03 05 12                                                    MEDICARE                                                                  -
                                                                                                                                           185.98
      Total rofessional adjustments:                                                                                                   -   185 .95


Total balance :
                                                                                                                                               0 .00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 86 of
                                        112


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  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
  Accoun t ID                                                           Gu    a t           m           dress



                                                                                          œ œe
 Detailed Bill For
 Patient Name :
 Account Class:                              Outpatient                                 Admission Date:
 Attending Physician :                      HSU , CINDY                                 Dfscharge Date :
                                                                                                                        11/29/2011
                                                                                                                        11/29/2011
 Charges
 == = = == = == = = == = == = == = == = = == = = =M =
                                                        = = = == = == = == = = = == == = = = == == = == = == = =
  Service        Cost                Rev .    Proc.                    Descripbi'on .                              ================
                                                                                                                       Qty . Amount
  Date           Ctr .               Code     Code
 = == = == = = == = = == = == == = = == == = = = == == = = == = = == = == = == = == = = = == = == == = == = == == M
 Hospital Charges                                                                                                     ============
  11 29 11 1094                      0324     501700423              CHEST 2 VIEWS                                          471
                                                                                                                                               .   00
       Total hospital charges :                                                                                                471
                                                                                                                                               .   00

Pa     en ts
== = = = == - == = = = =- == = =* - M= = -= == == = = -= = == = = == ==
                                                                        - -= = = = -= -= = = == - == == - == -= = == - - - = =-
                                                                        -
  Post Date                                        Recd . From                                                                 Am -===
                                                                                                                                  oun t
== = = -= - = == = = == = == = -= == = = -- M = == - == = == = = -= = == - -= = = =- = -= == == - == ==
                                                                                                        - -= = == == = = == = =        -
Hospital Pa           ents                                                                                                        -===
 12 21 11                                         MEDICARE
 01 13 12                                           RP                                                                         -
                                                                                                                                 36.44
                                                                                                                                   -
                                                                                                                                       9 .11
      Total hospital             a    ents:                                                                                    -
                                                                                                                                   45 .55

Adjusbments
= - = = == = = =- -= = = - =- = == - -= = == = ==
                                                  = = == - == = = -= - - == = -- = M= = - =- - = == =- - == c =
  Post     Date                                    A j. For
========= - - = = = - = - = = = = - - = - = - = = = = - - = = = = - = - =
                                                                                                                -=-&====-===M-=
                                                                                                                         Amount
Hospital Adjustments                                                      ==--=====-=--==-=--====GWO========-===
 12 Q1 11                                         MEDIC         E                                                          -   42 .45
      Total hos ital
                '    adJus
                        ' tm en ts .'                                                                                      -
                                                                                                                               428 45
                                                                                                                                           .




Total balance:                                                                                                                     0
                                                                                                                                           .   00
   Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 87 of
                                         112


  UHEALTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
  Account ID                                                                              nbo r             &        ress




 Detailed Bill For
 Patient Name :
 Account Class:                                        Outpatlent                                  service Date From: 11/29/2011
 Attending Physician :                                                                             Service Date To: 11/29/2011
 Charges
 == = = == = == = = == = == = == == = = == = = == = == == = = = = == == = == = = == == = = == = == == = = == = =
   Service          Cost                     Rev .        Proc.                  Description                                   ==============
                                                                                                                                 Qty
   Da te            Ctr .                                                                                                               .       Amount
                                             Code         Code
 = == = = == = == = = == = == == = == = == = = == = = =
                                                                   = = == = = = == == = == = == = == = = == = -= = == = == =
 Professional Charges                                                                                                          ==============
   11/29 11                                               99214                OFFICE OUTPT VISITZ EST ,L                                       270 .00
        Total professional charges :                                                                                                            270
                                                                                                                                                            .   00

Pa      en ts
= = = = = - = = = = = = = = = = = = = = --   -
                                             -   = = == - == - = = == == *
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                                                                                          = = = == = -
                                                                                                     - = == M = = =- == = M= = = == -
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  Post Date                                                   Recd . From                                                          ==========
                                                                                                                                       Amount
=- = - == - = == = == -= == == -- = = == - - =œ = == - - -= = = = == *= - == = == = = -= == = = -- - M= = == =
Pro fessiona
        ' l Pa                     ents                                                                                        --=========-==
 01 20 12                                                     M ED ICARE                                                                            0
 05 11 12                                                     MEDICARE                                                                               . 00

  05 30 12                                                       RP                                                                             -
                                                                                                                                                  89 .97
                                                                                                                                                -
                                                                                                                                                  22 .49
       Total professional pa                             ents :                                                                             -   112 .46

Adjustments
= = = == = = == = == == = = -= == - = - M= = = -= = == = = = == == M = == = == = ==
                               -

  Post Date                                        Adj. For                         =======================e=======
                                                                                                             Am ount
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                                                                       - = -= = == = -= = == = = =- = == == = = -= = = == = = =
Professional Adjustments                                                                                                          ===VM=======
 05 11 12                                                     MED IC      E                                                                 -   157 .54
       Total rofessional adjustments'
                                    .                                                                                                       -157. 54

Total balance :                                                                                                                                     0
                                                                                                                                                        .   00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 88 of
                                        112


  UHEALTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta , GA 30384-2005
  Ph :
  A count ID                                                                      Guarantor Name & Address



  Detailed Bill For
 Patient Name :
 Account Class :
 Attending Physician:                               Outpataent                                        Service Date From: 11/29/2011
                                                                                                      Service Date To: 11/29/2011
  Charges
  = = = = = = = = = = = = = -- = = = = = = = = = = = = = = = = = --
                                                                    = = - == = =- - = =- =M = = == -
                                                                                                   - = == == = -= = = =- == = = == = == = -
                                                                                                                                          œ
   Service           Cost                  Rev .       Proc .                    Description                                        Qty .            ======
   Date              Ctr .                 Code        Code                                                                                          Amount
 == = =M = = == = == == = = == = == = == = = = === = = == = = == =-
                                                                  - = = =- = =-
                                                                              -= = = == = -
                                                                                          - = == = == = = == == -
                                                                                                                - = == = == = = == = - =
        :
 Professlonal Charges                                                                                     *

   11 29 11                                            71020                   CHEST X - RAY 2 VW                                                    55 . 00
         Total professional charges:                                                                                                                 55 .
                                                                                                                                                            00

Pa       ents
 = == = == = = == = = == = == == = = == == = = == = == = == = = == == = = == = = == == = -
                                                                                                         - = == == = == = = == = == = == = = =-
  Post Dabe                                                  Recd . From                                                                      -
                                                                                                                                                  =====
                                                                                                                                                 Amount
= = = - = = = - - M = = -- = = = = - = = = = = = - = = = = -- = = = - - = = = - = = = = = = = = -
                                                                                                - = = == - = =- = -= = -= = = == == = = = == -
                                                                                                                                             -
Professional Pa                    ents                                                                                                          ======
 01 06 12                                                   MEDICARE
 01 24 12                                                      P                                                                                     -
                                                                                                                                                         9 .42
                                                                                                                                                     -
                                                                                                                                                         2 .35
        Total rofessional a                           ents:

Adjustments
= = = = - = = = = - M = = = = = = = = = = -- = = = *
                                                   -= = = --
                                                           * = = = = = = = -- = = = - - = = = - = = = - = = = = -
  Post Date                                                 Ad '                                                -
                                                                                                                    =============M=========
                                                                   .   For
= = - = -- = = * = = = - = = = = - = = = - - = = = - - = = = = = = - = = = - - - = = - - = = = = = = = - -
                                                                                                                                     Amount
Professional Adjustments                                                                                     ===-===W======R==A&========
  01 06 12                                                  MED IC        E                                                                      -
                                                                                                                                                     43.23
       Total professional adjustments'
                                     .                                                                                                       -
                                                                                                                                                     43 .23

Total balance:
                                                                                                                                                         0 .00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 89 of
                                        112


  UHEALTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
  A           t ID
                                                                                                                      re ss




                   Bill For
 Patient Name:
 Account Class :                                   Oubpatient                                     Admission Dati :
 Attending Physician:                              MOFFAT , FREDERICK L .                         Discharge Date :
                                                                                                                                       11/22/2011
                                                                                                                                       11/22/2011
 Charges
 = == == == = == = = == = == == = = == == = = =M = == = = = == = == = = == = == == = = == = == == = == = =
  Service           Cost                  Rev         Proc .                  Description                                  =================
                                                                                                                                Qty . Amount
  Date              Ctr .                 Co de.      Code
 = = = = == == = = == = == == = == = == = = == = = == == = = = == = == = == = = == == = = == = == == = == =
 Hospital Charges                                                                                                          =================
   11/22/11 1089                          0510 501700461                    HCHG CLINIC LEVEL 2 EST                                                117. 00
         Total hospital charges:                                                                                                                   117
                                                                                                                                                             .   00

Pa       en ts
  - - - -- = = -- . =- - = =-- - == - =      -   = = - -- = == . -- = -. = - - .- == - -. = = =- =-
  Post D ate                                               R                                             -
                                                                                                             M.
                                                                                                              --- ==m----=-=---==-m-==
-
                                                               ecd . From                                                                       Amount
- -
  -   = = == = =- = -= = = -- == = -- = == - - -- = = == - == =
                                                                      = -= = == = -- = == = - --= = = =- - = === = - - == = =- - = == =
Hos ital Pa              ents                                                                                                                    -===-
  12 14 11                                                MEDIC         E
  12 28 11                                                   P                                                                                  -
                                                                                                                                                    60 .78
                                                                                                                                                -
                                                                                                                                                    15 .19
         Total hospital pa                  ents :                                                                                              -
                                                                                                                                                    75.97

Adjustments
= = = = = = = = = = = = - = = -- = = = = = = = = = = = = = = = -- = = = = = = = = = = = = = = = = = = = = = = = = = -
                                                                                                                    - = = =X
                                                                                                                           - = == = = == - == = = == M == =
  Post Date                                               A '. For                                                                             Amoun t
= = == = = = -= = == -= = = == == M == = = -
                                           - = == == - = == = -= = = == = =-
                                                                           - = == - =- = == == - = == œ = =- = = == = == = == = H= = = =
Hospital Adjustments
  12 14 11                                                M EDIC       E                                                                       -
                                                                                                                                                    4 1 .03
        Total hospital adjustments.
                                  .                                                                                                            -41 03    .




Total balance:                                                                                                                                       0
                                                                                                                                                         .   00
     Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 90 of
                                           112


     UHEALTH
     University of Miami Hea1th Systems
     P .O . Box 4 02005
     Atlanta, GA 30384-2005
     Ph :
     Acc unt ID                                                                  G        n o                          ress




    Detailed Bill For
    Patient Name :
    Account Class :                                Outpatlent                                      Service Date From: 11/22/2011
    Attendïng Physicïan :
                                                                                                   Service Date To: 11/22/2011
    Charges
    = = = == == = = = == == = = == = == == = = == == == = == = = == == = == = = == == == M = == =
      Service          Cost                Rev .       Proc .                   Description                    ========================
                                                                                                                           Qty . Amount
      Date             Ctr .               Code        Code
    = = = = == M= = = == = == = == = = == == = = = == = == == = = = == == == = = = == = == = = == = == == = =
    Professional Charges                                                                                                  ==================
      11/22 11                                         99213                  OFFICE OUTPT VISITZ EST #L                              1                180 . 00
           Total professional charges ..                                                                                                           180 .00

 Pa        ents
--   M = = = = = - - = = = = = -- - = = = = = = - = = = = - = - = = = = - - = = = = = = -
                                                                                          = == = = == = == = -- = = == == = =   -
     Post Date                                              Recd . From                                                         -====-=-==-=====
                                                                                                                                          Amoun t
= = = = == = == = == = -= -M == = -= = = =-
                                          - = == = = =- -= = = == = -= == = == -
                                                                               - = = == == = -
                                                                                             . = = = = -- = - = = = = = - - = = = = = = = = = --
Professional Pa                    ents
     12 31 11                                               MEDI       RE
     0i 20 12                                                  P                                                                                   -
                                                                                                                                                       43.99
                                                                                                                                                   -
                                                                                                                                                       11 .00
          Total professional pa                       ents :                                                                                       -
                                                                                                                                                       54.99

Adjustments
-
-    = = = = = -- -- = = = = -
                             * == = == = == -
                                            - == = = = -= = = =- == = == = == -
                                                                              -= = == - -
                                                                                        * = = = = = = = -- - = = = - - = = = = = = - = = = =   -
 Post Date                                        Adj. For                                                             -======
                                                                                                                        Amount
=- == = -- - - - == -- = -= = = =- == = = - = -=
                                                 == = -- = -= = -= - = == = -= = - == = == = = HH == - = == = =
Professional Adjustments                                                                                        ==-===========
    12 31 11                                               MEDTC        E                                                                      -   125 .01
          Total professional adjustments:                                                                                                      -
                                                                                                                                                   125 .01


Total balance:                                                                                                                                          0
                                                                                                                                                            .   00
     Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 91 of
                                           112


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     University of Miami Health Systems
     P .O . Box 4 02005
     Atlanta, GA 30384-2005
     Ph :
    Ac       nt ID                                                                 Gua     ntor Name                Ad ress



    Detailed Bill For
    Patient Name :
    Account Class:                                  Outpatlent                                           Admission Date:
    Attending Physician :                           MOFFAT ? FREDERICK L .                               Discharge Date:                   11/18/2011
                                                                                                                                           11/18/2011
    Charges
    = = = == = = = == == = == = == = == == = = = = == == = = == c == = = == W W= == W = == = W=
     Service        Cost                    Rev .       Proc .                     Description                 ====W===MW=WW=WW=XUWWUXXWW
                                                                                                                             Qty . Am oun t
     Date           Ctr .                   Code        Code
 Hospital Charges
  11 18 11 1089                             0510       501700465                  HCHG CLINTC LEVEL 3 EST                                 1         1
                                                                                                                                                     17 .00
          Total hospital charges '
                                 .                                                                                                                  117
                                                                                                                                                        . 00



Pa        ents
-
-    == == -= - = == = -- = == - -= = =- -= = = = - == == - = == = = =- == = =- = = == - -= = =- - -= =
     Post Date                                              Recd . From                                                    =-====-====-====-===
                                                                                                                                         Amount
= = = = == == = = == = == = == == = == = == = = = == = == = = == = == = == -
                                                                           - == = == = == = == = - == = =-
                                                                                                         -
Hospital Pa              ents                                                                                                 =================
     12 14 11                                               MEDICARE
     12 29 11                                                  P                                                                                 -   60 .78
                                                                                                                                                 -
                                                                                                                                                     15 .19
         Total hos ital               a         ents :                                                                                           -
                                                                                                                                                     75 .97

Adjustments
-   -- - = == - -- == - - -= -= -           -   = = - - -= = = -- - == = -=   -   = -- =- - =- = -   -   = == - - -- = -- - -=   - -
    Post Da te                                             A '. For                                                                    =-=--===----=-
                                                                                                                                               Am ount
-     ----    = - -- - == = -- - ==   - -   = = -- - - = =-         M- -- - M -= - -- = ==
                                                              - -                            -   == = = -= -= = - =-   -   == -- - = = =- - =- - - = =-       - -
Hospital Adjustments
    12 14 il                                               MED IC         E                                                                     -
                                                                                                                                                     41 .03
         Total hospital adjustments:                                                                                                            -41. 03

Total balance :                                                                                                                                       0
                                                                                                                                                          .   00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 92 of
                                          112


    UHEALTH
    University of Miami Health Systems
    P .O . Box 402005
    Atlanta, GA 30384-2005
    Ph :

                                                                                     G ar nto           Na         &      dress



 Detailed Bill For
 Patient Name t
 Account Class:                                     Outpatlent                                         Service Date From: 09/02/2011
 Attending Physician :                                                                                 Service Date To: 09/02/2011
 Charges
 == = = == = = == = == == = == = == = = == = = == = = == = == = == = == = == = == = == = = = == = == == = == == = M ==
    Service         Cost                    Rev .                                                                                           ==========
    Date            Ctr .                               Proc .                     Description                                            Qty . Amount
                                            Code        Code
 = = = == = = == == = == = == = == = == = = = == = == = = == = == = == = == = = == == = = = = == == = == = == == = == = = == =
 Professional Charges                                                                                                                                   ======
    09/02/11
    09/02/11                                            Q2037
                                                        G0008                    Fluvirin
                                                                                 ADMIN    vacc, 3 yrs & >
                                                                                       INFLUE                                               1           46.00
                                                                                             NZA VIRUS VA                                   1           25 . 00
           Total professional charges :                                                                                                                 71 . 00

Pa         ents
- - -   = - - =- - m- - =- -   - - - -   =- - - == -- - - - -     - -   = -= - = -- -= -- = ==   - - - - a - -   = - - -== - - -- - -- =- -   -
    Post Date                                                   Recd . From                                                                       ==--==-==
                                                                                                                                                     Amoun t
-    --    -= a -   =--   - =-- == - -= = -         -   - - -   = - -- - == - - =-   - - -   == - -- - - =- - - -- = =- - ==   - -   = -= - -= = - == = -- =
Professional Pa                   ents                                                                                                                          -
 02 07 13                                                       MEDICARE                                                                                 0.
                                                                                                                                                               00
          Tota professional pa                          ents :                                                                                           0 . 00

Adjustments
= = = -= = - = == = == = == == = == = = == = = == = = == = =              = = = == -= = == = - == - -
                                                                                                    - = = - == = == = -= == = = ==V == = == = == = ==
 Post Date                                                      Adly. For                                                             '             Amount
= = = = == - = == = -
                    - = = - == = == = == - = == = = == = = == = == = == = =-
Professional Adjustments                                                                -=-
                                                                                          -====================*====*========
 05 30 13
 Os 30 13                                                       MEDICARE                                                                            -46 .00
                                                                MEDICARE                                                                            -25 . 00
        Total professional adjustments;                                                                                                             -71    .   00


Total balance :                                                                                                                                          0 . 00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 93 of
                                        112


  UHEALTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta , GA 30384 -2005
  Ph :

                                                                            Gua nto Nam                 & Ad ress



 Detailed Bill For
 Patient Name:
 Account Class:
 Ateending Physician:                           Outpatlent                                    Service Date From; 09/01/2011
                                                                                              Service Date To: 09/01/2011
 Charges
 = == = == = = = == == = = == = == == = == = = == = == = = == = == = == = = == = = == == = == = == = == = ==
   Service          Cost                Rev .      Proc .                  Description                                  ================
                                                                                                                            Qty . Amount
   Date             Ctr .
                                        Code       Code
 == = == == = = == = == = = == == = == == = = = == = = =
                                                              = = == = == = == = = == == = = == = == = M= == = = == = == =
 Professional Charges                                                                                                             ==r========
  09 01 11                                         99214                  OFFICE OUTPT VISIT EST,L                                1    270.00
                                                                                            ,

        Total professional charges :                                                                                                   270 00
                                                                                                                                                        .



Pa      ents
= = = = == = == = == = = == = == = == = == == = = = == = = == = = == == = == = = == == = = == == = = =
  Post Date                                             Recd . From                                             ==============Am
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Professional Pa                 ents                                                                                                                        -
  09 26 11                                              M EDICAR E
  10 25 11                                              A ARP                                                                               -   89 .97
                                                                                                                                            -
                                                                                                                                                22.49
       Total professional pa                      ents :                                                                                -
                                                                                                                                            112 .46

Adjustments
= = - M = = = - = = = = -- = = = = = = = = = = = = = - = = = = = = = = = = = r = = - = =
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 Post Date
= == = =- = = == = = == = =-
                                                       A j. For
                           - = == = == -= = = = =- = M == - == = == = = == - == = -= =
                                                                                                                                            Amount
Professional Adjustments                                                                       ===-===-=-========*==========
 09 26 11                                              MEDICARE                                                                         -
                                                                                                                                            157 .54
       Total rofessional adjustments:                                                                                                   -157. 54

Total balance:                                                                                                                                  0
                                                                                                                                                    .   00
   Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 94 of
                                         112



  UHEA LTH
  University of Miami Health Systems
  P.O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
  Ac       n t ID
                                                                                                        r ess




  Detailed Bill For
 Patient Name:
 Account Class:                              Outpatient                               Service Date From z 0//29/2011
 Attending Physician :
                                                                                      Service Date To: 07/29/2011
  Charges
 = = = = == = = == == = = == == = == = == = = = == = == = = == = = == = == = == = == == = = = == = == = = == =
   Service        Cost               Rev .     Proc .                Description                                 ================
                                                                                                                     Qty
   Da te           Ctr .             Code      Code
                                                                                                                           .               Amount
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 Professional Charges                                                                                            ================
   07/29/11                                    88305               SURG PATH, LEVEL IV                                     190 . 00
   07/29/11                                    88312               SPECIAL STAIN  GROUP 1 MI
   07/29/11                                    99214               OFFICE/OUTPT VISIT,                                                     155.00
   07/29/11                                    11100               BIOPSY OF SKIN LESIOEST/
                                                                                        N
                                                                                           L                                               270.00
                                                                                                                                           170 .00
        Total professional charges:                                                                                                        785 . 00



 = == = = == == == = == = == = == = = == = = = == = == = = == == = = == = == = == = = == = = == = == = == = ==
Professional Payments                                                                                            ===============
  08/25/11                                         MEDICARE                                                                                -
  08/25/11                                         MEDICARE                                                                             89.97
  09/16/11                                         AKRP                                                                            -
                                                                                                                                       181.96
  09/19/11                                         AARP                                                                                 22.49
                                                                                                                                           -


  10/17/11                                         MEDICARE                                                                             45.49
                                                                                                                                           -


  11/û9/i1                                         MEDICARE                                                                              0.00  -
  12/14/11                                         AARP                                                                                  1. 87
                                                                                                                                         0 .47 -


       Total professional payments:                                                                                            -       342 .25



== = == = == = = = == = = == = == = = == = == = = = == = == = = == = == = == = == = == = = == = == = = == = =V M= V =
Professional Adjustments                                                                                                ===========
 08/25/11                                         MEDICARE
 08/25/11                                         MEDICARE                                                                     -
                                                                                                                                       157.54
 08/25/11                                         MEDICARE                                                                             -

                                                                                                                                       -
                                                                                                                                        76.90
 12/14/11                                            P                                                                         -
                                                                                                                                        40.65
                                                                                                                                       167.66
       Total professional adjusbments:                                                                                         -442                .   75
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 95 of
                                      112




Total balance :
                                                                                 0.00
   Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 96 of
                                         112


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  P .O . Box 402005
  A tlan ta , GA 30384 -2005
  Ph :
  Accoun t ID                                                                     Guarantor Name & Address




  Detailed Bill For
 Patient Name:
 Account Class :                                    Outpatient                                        Admission Date:
 Attending Physician :                              SHERMAN, ANDREW L .                               Discharge Date:
                                                                                                                                            06/09/2011
                                                                                                                                            06/09/2011
 Charges
 = = == - -= = == - -
                    - == == - = == *
                                   -= = == = - = == = -
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   Service           Cost                   Rev .       Proc .                   Description                                              QLy . AA=-====
   Date              Ctr .                                                                                                                        Amount
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 Hospital Charges
   06/09/11
   06/09/11            1025
                       1025                 0922
                                            0922       501704444
                                                       920700013               HCHG
                                                                               HCHG      MUSCLE TEST , TWO LI
                                                                                         MOTO                                             1            163.00
   06/09/11            102S                 0510       501700461               HCHG      CLINIC
                                                                                             R NERVE  CONDUCT
                                                                                                LEVELCONDUCT
                                                                                                       2 EST
                                                                                                                                          4
                                                                                                                                          1
                                                                                                                                                       356.
                                                                                                                                                       117
                                                                                                                                                           00
   06/09/11            1025                 0922       920700010               HCHG      MOTOR NERVE                                      4            356 00
                                                                                                                                                           .

   06/09/11            1025                 0922       920700016               HCHG      SENSE NERVE CONDUCT                             1                 00
                                                                                                                                                           .
                                                                                                                                           0           890.00
        Total hospital charges :                                                                                                                 1 882 .00
                                                                                                                                                  ,


 Pa     en ts
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  Post Date                                                  Recd . From                                                                       -*=-=====
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Hos ital Pa               ents                                                                                         -=-==-=-===--==-===-=
 08 19 11                                                   MEDI          E
 10 û7 11                                                                                                                                          -
                                                                                                                                                    779.80
                                                               P                                                                                   -194 . 94
        Total hos ital                  a     ents '
                                                   .                                                                                               -
                                                                                                                                                       974 .74

Ad 'ustments
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                                                                                                                                                       Amount
Hospital Adjustments                                                                                                                                    ==--=
 08 1 9 11                                                  MED ICARE                                                                             -
                                                                                                                                                       907 .26
       Total hospital adjustments:                                                                                                                -907. 26

Total balance :                                                                                                                                          0. 0 0
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 97 of
                                        112



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  Atlanta , GA 30384-2005
  Ph :
  Ac       nt ID                                                                                              A     ress




 Detailed Bill For
 Patient Name :
 Account Class :                                 Outpatient                                      Service Date From: 06/09/2011
 Attending Physician:
                                                                                                 Service Date To: 06/09/2011
 Charges
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   D                Cost                 Rev . Proc .                        Description                                                      =
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    ate             Ctr .                Code Code
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 Professional Charges                                                                                                                    =M========
  06/09/11
  06/û9/l1                                          95904
                                                    95903                  NERVE NERVE
                                                                           MOTOR CONDUCTION
                                                                                        CO / EA NERV                                 4               320.00
  06/09/11                                          95861                  EMG N EEDLE , TWO
                                                                                          NDUCT  TEST
                                                                                             L IMBS
                                                                                                                                     4
                                                                                                                                     1
                                                                                                                                                     480.
                                                                                                                                                     245
                                                                                                                                                         00
                                                                                 ,                                                                         .   00
        Total professional charges:                                                                                                          1
                                                                                                                                                 ,   045 .00

Pa      ents
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  Post Date                                              Recd . From                                                                     -M===-
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Professi'onal Payments                                                                                                                        ======
 11 03 11                                                MEDICARE                                                                                0
 12 06 11                                                MEDICA                                                                                    . 00
 01 05 12                                                AARP RE                                                                             -232 . 76
                                                                                                                                              - 58 .19


       Total professional payments:                                                                                                          -
                                                                                                                                                 290 .95

Adjustments
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Professional Adjustments
 12 06
 12 06 11
       11                                               MEDICARE                                                                             -160 .65
 12 06 11                                               MEDICARE
                                                        MED I                                                                                -346 . 96
                                                              CARE                                                                           -246 . 44
       Total professional adjustments:                                                                                                       -754 . 05

Total balance :                                                                                                                                       0.
                                                                                                                                                           00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 98 of
                                        112



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 Atlanta , GA 30384-2005
 Ph :
 Account ID                                                                        r                   re s s




 Detailed Bill For
 Patient Name :
 Account Class:                             Outpatient                                 Admission Date:
 Attending Physician :                      SUSSMAN, DANIEL A .                        Discharge Date :
                                                                                                                        05/11/2011
                                                                                                                        os/l1/201l
 Charges
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  Service        Cost               Rev .     Proc.                 Description                                     =============
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  Da te          Ctr .
                                    Code      Code
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Hospital Charges                                                                                                                  =====
 05 11 11 1600                      0510      501700465           HCHG CLINIC LEVEL 3 EST                                        123
                                                                                                                                     . 00

       Total hospital charges :                                                                                                  123 . 00




Adjustments
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  Post Date                                        Adj. For                                                              -=-=====-
                                                                                                                            Amount
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                                                                                                            -   - ---
Hospital Adjustments                                                                                                 ===O===- -===
 06 14 11                                         MEDICAR E
 10 26 11                                         GENERIC COMMERCIA                                                          -
                                                                                                                                 47.03
                                                                               L                                            -15 . 19
      Total hospital adjustments:                                                                                           -62     .   22


Total balance :                                                                                                                   0 . 00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 99 of
                                       112



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 A tlanta , GA 30384-2005
 Ph :
 Account ID                                                                      G     r nto                              ress




 Detailed Bill For
 Patient Name :
 Account Class:                                    Outpatient                                        Service Date From: 09/30/2013
 Attending Physician :                                                                               Service Date To) 09/30/2013
 Charges
 = = = = = == = == = == = = === == = = = == = = == = = == == == = = == = == = == = = == = = == == = == = == == = = == == = = 0 == = == =
  Service Cost                            Rev . Proc .                           Description                                             Qty . Amount
  Date              Ctr .                 Code         Code
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 Professional Charges
  09/3:/13                                            99214                   OFFICE/OUTPT VISITJESTIL                                     l          270.00
  09/30/13                                            Q2037                   Fluvirin vacc, 3 yrs & >                                     1           46.00
  09/30/13                                            G8553                   Rx certified EHR                                             1            0.00
  09/30/13                                            G8420                   BMI<30 AND >=22 CALC & D                                     l            0.00
  09/30/13                                            G8427                   PR LIST OF CURRENT MEDIC                                     1            0.00
  09/30/13                                            3016F                   PATIENT SCREEN FOR UNHEA                                     1            0.00
  09/30/13                                            1036F                   CURRENT TOBACCO NON-USER                                     1            0..00
  09/30/13                                            G0008                   ADMIN INFLUENZA VIRUS VA                                     i           25.00
        Total professional charges :                                                                                                                 341.00

Pa      ents
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  Post Date                                                 Recd . From                                                                              Amount
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Professional Pa                   ents
 10 18 13                                                   MEDICARE                                                                               -129 .98
 11 04 13                                                   UN ITED HEALTHCARE                                                                       -23 . 17
       Total professional pa                          ents:                                                                                        -153.15

Adjustments
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  Post Date                                          Adj. For                                                                  Amount
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Professional Adjustments
  10/18/13                                           MEDICARE                                                                -154.16
  10/18/13                                           MEDICARE                                                                    -1.85
  10/18/13                                           MEDICARE                                                                  -31.04
  10/18/13                                           MEDICARE                                                                    -0.30
  10/18/13                                          MEDICARE                                                                     -0.50
       Total professional adjustments'                     .                                                                 -187.85
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 100 of
                                      112




Total balance :                                                                  0
                                                                                      .   00
    Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 101 of
                                          112


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    Atlanta, GA 30384-2005
     Ph :

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    A ontID                                                                     uar ntor Na                    Ad ress



    Detailed Bill For
    Patient Name :
    Account Class :                               Outpatient                                     Service Date From: 05/11/2011
    Attending Physician ;
                                                                                                 service Datb To: 05/11/2011
    Charges
    = = == = == == = == = == = == = == = == = = = == = = == = = == == = = == == = == = = == = = == = == == = =
     Service         Cost                Rev .      Proc .                    Description                                 =================
                                                                                                                               Qty . Amount
     Date            Ctr .               Code        Code
    == = == = = == = == = == = = = == == = == = = == M = == = =
    Professional Charges                                               ===================================d=========
     05 11 11                                       99214                  OFFICE OUTPT VISIT EST,L      l    270.00
                                                                                                              A
            Total professional charges.
                                      .                                                                                                   270 . 00

Pa        en ts
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                                                                 - = = = == = -= = -= = == = = == M = == = =-
                                                                                                            - = == - == = == = == = = == -
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     Post Date                                            Recd . From                                                                    =====
                                                                                                                                        Amount
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                               - = = - = = = = = = - = = = = = = -- = = = - = = - = = = = = = - = = = - = = = - = = - = = -
Professional Pa                 ents          '                                                                               m===-==-========
 06 17 11                                                MEDICARE
 06 30 11                                                   P                                                                             -
                                                                                                                                              67.24
                                                                                                                                          -
                                                                                                                                              16.81
         Total professional pa                      ents '
                                                         .                                                                                -   84 .05

Adjustments
== = = == = - == = -= = - == -= = = -= = - == - - == - = =- == = == = = == == = = = -= = == = = == = -- = =- = == -

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 Post Date                                         Adj For     .                                                                ==*-==-=====
                                                                                                                                      Amoun t
-== = - = = == == = = == = M - == = = == = = =- = = == = =-
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                                                                   -                                 -                          -
Professional Adjustments                                                                                                        ==-
                                                                                                                                  --
                                                                                                                                   œ========
    06 17 11                                             MEDIC          E                                                             -   185 .95
         Total professional adjustments:                                                                                              -185. 95

Total balance:                                                                                                                                0
                                                                                                                                                  .   00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 102 of
                                        112



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  Atlanta , GA 30384 -2005
  Ph :
              t ID                                                                                                           res s




  Detailed Bill For
 Patient Name :
 Account Class :                                      Outpatient                                         Service Date From: :5/09/2011
 Attending Physician:
                                                                                                         Service Date To: 05/09/2011
  Charges
  == = = == = = == = = == = == = == = === = = = = == = == = =
   Service Cost                       Re                      ===================================Z=========
   Date            Ctr .                v . Proc.                  Description                 Qty . Amount
                                      Code Code
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 Professional Charges                                                                                                                         ===========
   05/09/11                                              G8553                   Rx certified EHR                                                          0
   05/09/11                                              99214                   OFFICE/OUTPT VISIT                                                          00      .

   05/09/11                                              17110                   DESTRUC FLAT WARTS, EST,L                                               270.00
                                                                                                                      ,   UP T                           170 .00
         Total professional charges;                                                                                                                     440 . 00



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Professional Payments                                                                                                                     =============
  06/09/11                                                    MEDICARE
  OG/24/1l                                                    AARP                                                                                       -
                                                                                                                                                             89.97
  07/û7/11                                                    MEDICARE                                                                                   -
                                                                                                                                                             22.49
                                                                                                                                                             -
  07/22/11                                                    AARP                                                                                            5.77
  03/13/12                                                    MEDICARE                                                                                       -
                                                                                                                                                              1.44
  07/24/12                                                    MEDICARE                                                                                        0.00
                                                                                                                                                             89 .97
        Total professional payments :                                                                                                                    -   29 .70

Adjustments
== - == -= = = == M = -   -   = = = = = = = = = = = = = = = = -- = = = = = = = = = = = = = = -- = = = = = = = = M = = = = = = = = = = = = = = M = = = = = -
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  Post Date                                                   AdJ'. For                                                                                    ====
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Professional Adjustments                                                                                                  =====================
 06    09    11                                              MED ICARE
 03    30    12                                                 P                                                                                    -
                                                                                                                                                       157 .54
 07    24    12                                              MEDI                                                                                    -
                                                                                                                                                       162 .79
 05    30    13                                              AARP    E                                                                                 157 , 54
                                                                                                                                                     -
                                                                                                                                                       247 .51
       Total professional adjustments:                                                                                                               -410        .   30
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 103 of
                                      112




Total balance:                                                                   0
                                                                                     .   00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 104 of
                                        112




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 P ,O . Box 4:2005
 Atlanta, GA 30384-2005
 Ph :

 e            tID                                                                                                       ress




 Detailed Bill For
 Patient Name:
 Account Class:                                   OutpaLient                                        Admission Date :                      04/05/2011
 Attending Physician :                            MOFFAT , FREDERICK L .                            Discharge Date:                       04/05/2011
 Charges
 -
 -   = = - - == == = = == = =- - -= = -= = == = -= - - -= = - == = == = =- - = == - - == = == - =- - -- =- -                 == = == - - - -- - -== - = -
     Service        Cost                  Rev .       Proc .                    Description                                              ty . Amount
     Date           Ctr.                  Co e        Code
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Hospital Charges
     04/05/11 2045
     04/05/11 2045                        0401 501700489
                                          0401 501700649                      DIGITIZ
                                                                              DIGITALATION OF FILM.
                                                                                      DIAGNOSTIC MKMMO                                              77 00.

     04/05/11 1089                        0510 501700461                      HCHG CLINIC
                                                                                      h
                                                                                          LEVEL 2 EST                                              782. 00
                                                                                                                                                   123 .00
         Total hospital charges :                                                                                                                  982 . 00

Pa       ents
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     Post Date                                             Recd . From                                                                            Amount
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Hospital Pa               ents                                                                             '
 05
 02 10
    21 11
       1                                                   MEDICARE                                                                              -176 . 05
                2                                             P                                                                                   -44 . 00
         Total       os ital pa              ents:                                                                                               -220 . 05

Adjustments
              - - - = = = - -- = = = = = = *
= == = = = == *                            - = = = = = = = = = - = = = = = = = = = = = = = = D'= = = = = = = = = = = = = = = = = = = = = = = = = = = = = = - =
 Post Date                                                 A '. For                                                                               Amount
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                                                                                                                                                        -   = =
Hospital Adjustments
 05 10 11                                                  MED ICARE                                                                            -761 . 95

        Total hospital adjustments'
                                  .                                                                                                             -761.95

Total balance :                                                                                                                                       0 . 00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 105 of
                                       112



  UHEALTH
  University of Miami Health Systems
 P .O . Box 402005
 Atlanta? GA 30384-2005
 Ph :
 Account ID                                                                       Guarantor Name & Address



 Detailed Bill For
 Patient Namet
 Account Class:                                    Outpatient
 Attending Physician :                                                                                Service Date From: 04/05/2011
                                                                                                      Service Date To: 04/05/2011
 Charges
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  Service            Cost                 Rev .        Proc.                     Description                                          ==============
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  Date               Ctr .                Code         Code
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Professional Charges                                                                                                              ================
  04 05 11                                             99213                   OFFICE OUTPT V ISIT EST ,L                                               180 . 00
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        Total professional charges :                                                                                                                    180
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Pa      en ts
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Professional Pa                   ents                                                                                                       =-
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 05 11 11                                                   MEDIC         E
 06 16 11                                                      P                                                                                        -
                                                                                                                                                            43.99
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       Total rofessional pa                           ents:                                                                                             -
                                                                                                                                                            54 .99

Adjustments
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Professional Adjustments                                                                                                                       *========
 05 11 11                                                  MED ICA RE                                                                              -
                                                                                                                                                        125 .01
      Total professional adjustments'
                                    .                                                                                                              -125. 01

Total balance :                                                                                                                                             0
                                                                                                                                                                .   00
 Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 106 of
                                       112



  UHEALTH
  University of Miami Hea1th Systems
  P .O . Box 402005
  Atlanta , GA 30384-2005
  Ph :
 Account ID
                                                                                     Guarantor Name & A dress



 Detailed Bill For
 Patient Name :
 Account Class:                                    Outpatient
 Attending Physician :                                                                                 Admission Date:
                                                                                                       Discharge Date:                     03/28/2011
                                                   SUSSMAN , DAN IEL A .
                                                                                                                                           03/28/2011
 Charges
 = = = = = = = = -- = = = = = = = = = = = = = = = M = = = = = =   -
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     service        Cost                   Rev .       Proc.                        Description                                           Qty .        ======
     Date           Ctr                    Code        Code                                                                                            Amount
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 Hospital Charges                                                                                                                                      ======
     03/28/11 4030                        0258 130700258                          LACTATED RINGERS SOLN 1
     03/28/11 4030                        0250 130700250                          PROPOFOL 10 MG/ML EMUL 2
                                                                                                         ,                                         164.00
  03/28/11            4030                0250        130700250                  PROPOFOL 10 MG/ML EMUL 2                                           34.
                                                                                                                                                    51. 00
  03/28/11            3010                0370        380700012                  HCHG ANES MAC EACH ADD IL                                              00
  03/28/11            3010                0370        380700009                  HCHG ANES MAC 1ST HOUR                                            252.00
  03/28/11            4010                0270        111705067                  HCHG KIT IV START                                                 995.00
  03/28/11            4010                0270        111702407                  HCHG CATH IV 22G INTROCA                                           31.00
  03/28/11            4010                0270        111708775                  HCHG SET SMALLBORE EXTEN                                           33.00
  03/28/11           4035                 0271        111705521                  HCHG NASAL CANNULA IAKA 3                                          33.00
  03/28/11           4035                 0271       11+700007                  HCHG OZ/HOURIAKA 3710023                                            16.00
  03/28/11           4025                 0710       501701677                  HCHG RECOVERY STEP DOWN                                           2512.00
  03/28/11           4025                 0710       501701679                  HCHG RECOVERY STEP DOWN                                           180.00
 03/28/11            4010                0270        111709041                  SNARE POLYPECTOMY MINI 6                                          6 7.00
 03/28/11            4010                0270        111709119                  TRAP SPECIMEN STERILE 40                                            18.00
 03/28/11            4010                0271        111706195                  OXISENSOR                                                           31.00
 03/28/11            4010                0270        111708729                  IV SET PRIMARY CONTINU F                                          281.00
                                                                                                                                                    3
 03/28/11            4010                0271        501704102                  CANNULA NASAL STRAP STYL                                             1.00
 03/28/11            4010                0270        111700719                  BOVIE POLYHESIVE 11 GROU                                            17.
                                                                                                                                                    45 00
 03/28/11            3035                0750        501704614                  COLONOSCOPY BX & POLYP                                         3,      00 .

 03/28/11            3035                0750        501704714                  ENDOSCOPY UPPER W BX                                              593.00
 03/28/11            2065                0310        107702697                  GROSS MICRO IV                                                 2,534.00
 03/28/11            2065                0310        107702697                  GROSS MICRO IV                                                    289.00
 03/28/11            2065                0310        107702697                  GROSS MICRO IV                                                    289.00
 03/28/11            4030                0250        130700250                  LIDOCAINE 2 % SOLN 5 ML                                           289.00
                                                                                                                                                       34 .00
       Total hospital charges :
                                                                                                                                             10,109 .00
Pa    en ts

Post Date                                                 Recd . From                                                                                 Amount
          =   == = ==     =                               ==                                   -       -   -    * - -   -   - * - * - *
Hos ita Pa              ents                                                                                                              --- **-*---
 05 09 11                                                 MEDIC             E
 05 11 11                                                 MEDIC             E                                                                     -   699.29
                                                                                                                                                      699.29
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 107 of
                                      112



  05/11/11                                       MEDICM
                                                 M RP   E                                                                 -777.08
  02/21/12                                                                                                                -293.52
      Total hospital payments:                                                                                      -   1,070 .60

Adjustments
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Hospital Adjustments                                                                                                     -====--=-
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 05 11 11                                       MEDICARE
 05 09 13                                       GENE                                                               -
                                                                                                                        9,004 .40
                                                    RIC COMMERCIAL                                                        -
                                                                                                                            34 .00
      Total hospital adjustments:                                                                                  -    9 ,038 .4 0


Total balance:
                                                                                                                              0 .00
Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 108 of
                                      112



  UHEALTH
  University of Miami Hea1th Systems
  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
  Acc unt ID                                                                 Guarantor Name & Addtess



 Detailed Bill For
 Patient Name:
 Account Class ;
 Attending Physician :                           Outpatient                                    Service Date From: 03/28/2011
                                                                                               Service Date To: 03/28/2011
 Charges
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   Service          Cost                 Rev .      Proc.                   Description                     =======================
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 Professional Charges                                                                                           =====================
   03/28/11                                         00810                 ANESTH
   03/28/11                                         00810                 ANESTH#/ INTESTINE,SCOPE/L
                                                                                   INTESTINEASCOPE#L
                                                                                                                       10 .
                                                                                                                       10 . 7 1,123.50
                                                                                                                            7 1,123.50
        Total professional charges :                                                                                          2
                                                                                                                                         , 247 .00

Pa      ents
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  Post Date                                              Recd . From                                                           ======M=======
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Professional Pa                 ents                                                                                     ================
  07 14 11                                              M ED IC       E
  12 06 11                                                 RP                                                                           -
                                                                                                                                            159 .74
                                                                                                                                              0 .00
       Total         rofessional             a     ents:                                                                                -
                                                                                                                                            159 .74

Adjustments
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 Post Date                                          Adj For   .                                                         ========-=======
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Professional Adjustments                                                                                            ========M=========
 07 14 11                                               MEDICARE
 05 09 12                                               MEDICARE                                                                        -
                                                                                                                                          923.82
 05 09 12                                                  P                                                                       -   1,i23 .SO
                                                                                                                                          -
                                                                                                                                            39.94
      Total professional adjustments:                                                                                              -2, 087.26

Total balance :
                                                                                                                                             0 .00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 109 of
                                        112



  UHEALTH
  University of Miami Hea1th Systems
  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph:




 Detailed Bill For
 Patient Name :
 Account Class:
 Attending Physician:                              Outpatient                                          Service Date From: 03/28/2011
                                                                                                       service Date To: 03/28/2011
 Charges
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   Service           Cost                 Rev .        Proc.                     Description                          =====================
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 Professional Charges                                                                                                 =====================            '

  03/28/11                                             00810                   ANESTH , INTESTINE /SCOPE ,L                      10 .
  03/28/11                                             00810                   AKESTH, INTESTINE ySCOPE,L                        10 . 7
                                                                                                                                      7
                                                                                                                                              1,123.50
                                                                                                                                              1 ,123 .50
        Total professional charges:                                                                                                           2
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Pa      ents
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Professional Pa                  ents                                                                                                                      ===
  07 14 11                                                 MED ICARE
  12 06 11                                                 AARP                                                                                -
                                                                                                                                                   159.74
                                                                                                                                                     0 .00
       Total professional pa                          ents '
                                                              .                                                                                -159 .74

Adjust     ments
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  Post Date                                         Adj For       .
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Professional Adjustments                                                                                                            =O==========
 07 14 11                                                  MEDICARE
 05/09/12                                                  MEDICARE                                                                       923.82
                                                                                                                                               -

 05 09 12                                                         P                                                                       -
                                                                                                                                              1,123 .50
                                                                                                                                                -
                                                                                                                                                  39 .94
      Total professional adjustments:                                                                                                     -2: 087 .26

Total balance :                                                                                                                                      0
                                                                                                                                                           .   00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 110 of
                                        112



  UHEALTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
  Account ID                                                                    Gua      ntor Nam               & Address



 Detailed Bill For
 Patient Name :
 Account Class:                                    Outpatlent                                         Service Date
 Attending Physician :                                                                                Service Date
                                                                                                                              From: 02/16/2011
                                                                                                                              To: 02/16/2011
 Charges
 = = = == = == = = == = == = == = == = == = = = == = == = == = = = == == = = == == = = = = == == = == =
   Service           Cost             Rev . Proc .                    Description                     ================='
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   Date              Ctr .            Code Code
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 Professional Charges                                                                             ===================M====
   02 16 11                                           99213                  OFFICE OUTPT V ISIT
                                                                                                                  ,   EST,L           1         180.00
        Total professional charges :                                                                                                            180 . 00

Pa      ents
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  Po st Date                                               Recd . From                                                                                =
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Professional Pa                  ents
 05 19 11                                                   RP
 02 01 12                                                 MEDICARE                                                                              -
                                                                                                                                                    15.22
                                                                                                                                                -
                                                                                                                                                    60 .89
        Total        rofessional               a     ents:                                                                                      -   76.11

Adjustments
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Professional Adjustments                                                                                                   =========M==m====
 02 01 12                                                 MEDIC        E                                                                    -
                                                                                                                                                103 .89
       Total rofessional adjustments:                                                                                                       -103. 89

Total balance :                                                                                                                                     0
                                                                                                                                                        .   00
  Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 111 of
                                        112



  UHEALTH
  University of Miami Health Systems
  P .O . Box 402005
  Atlanta , GA 30384-2005
  Ph :


 e             tID                                                                        r n Or                            re ss




 Detailed Bill For
 Patient Name:
 Account Class:
 Attending Physician :                               Outpatient                                        Service Date From: 01/07/2011
                                                                                                       Service Date To: 01/07/2011
 Charges
 = = = == = == = = == == = == = == = = M= = = = == = == = == = = == = == = == = == = == = == == =
  Service             Cost           Rev . Proc.                      Description                 =======================
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 Professional Charges                                                                                   ====================
  01 07 11                                              99213                    OFFICE OUTPT VISIT
                                                                                                                     Z EST ,L                     180 . 00
          Total professional charges :                                                                                                            180
                                                                                                                                                         .   00
Pa       en ts
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  Post Date                                                   Recd . From                                                                =======-
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Professional Pa                     ents                                                                                               =======M=======
  02 18 11                                                   MEDIC           E
  02 21 11                                                      P                                                                                      0 .00
                                                                                                                                                  -
                                                                                                                                                      54 .99
         Total professional a                          ents:                                                                                      -
                                                                                                                                                      54 .99

Adjustments
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Professional Adjustments                                                                         ===-=====œ==H===========
 92 18 i1                                                    MED ICARE                                                                        -
                                                                                                                                                  125 .01
        Total professional adjustments'
                                      .                                                                                                       -   125 .01


Total balance :
                                                                                                                                                      0 .00
   Case 1:13-cv-22500-CMA Document 15-13 Entered on FLSD Docket 12/10/2013 Page 112 of
                                         112


   UHEA LTH
   University of Miami Health Systems
  P .o . Box 402005
  Atlanta, GA 30384-2005
  ph :
  Account ID
                                                                                               N                ress




  Detailed Bill For
  Patient Name :
  Account Class:                               Outpatlent
  Attending Physician :                        MO FFA T, FREDERICK L .
                                                                                               Admission
                                                                                               Discharge Date
                                                                                                         Date;:                 01/07/2011
                                                                                                                                01/07/2011
  Charges
  = = == = = == = == = == = == = == = = == = = = == = = == == = = == = =
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   Service          Cost                Rev .      Proc.                  Description                                 ================
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   Date             Ctr .               Code       Code
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 Hospital Charges                                                                                                         ==============
   01/07/11 1089                        0510 501700465                  HCHG CLINIC LEVEL 3 EST                                            117.00
        Total hospital charges '
                                                 .                                                                                         117 .00
 Pa     ents
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 Hospital Pa              ents                                                                         =-
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  02 21 11                                             MEDICARE
  04 13 11                                                P                                                                              60 .78
                                                                                                                                          -

  04 19 11                                                P                                                                               0 .00
                                                                                                                                       -
                                                                                                                                         15 .19
       Total hospital pa                  ents ..
                                                                                                                                       -      75 .97

Adjustments
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  Post Date                                                Adj. For
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Hospital Adjustments                                                                                                               =======
 02 21 11                                             MEDICARE
 02 21 i1                                             MEDICARE                                                                         -
                                                                                                                                           47 .38
                                                                                                                                            6 .35
      Total hospital adjustments:                                                                                                     -
                                                                                                                                           41 .03

Total balance )
                                                                                                                                              0 .00
